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            ORAL ARGUMENT HEARD NOVEMBER 20, 2023
                         No. 23-3190

             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES OF AMERICA,
                                           Appellee,
                                      v.

DONALD J. TRUMP,
                                        Defendant-Appellant.
                          ______________________

                On Appeal from the United States District Court
                        for the District of Columbia


 PRESIDENT TRUMP’S PETITION FOR PANEL REHEARING AND EN
BANC CONSIDERATION AND REQUEST FOR ADMINISTRATIVE STAY
        PENDING CONSIDERATION OF THIS PETITION


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                                             GLOSSARY

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President Trump ...............................................Appellant President Donald J. Trump

The prosecution ....................................................Appellee United States of America




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              RULE 35(b) STATEMENT AND INTRODUCTION

      This petition presents a question of exceptional importance: Whether a district

court may gag the core political speech of the leading candidate for President of the

United States—disregarding the First Amendment rights of over 100 million

American voters—based on speculation about undefined possible future harms to

the judicial process. Fed. R. App. P. 35(b)(1)(B). The Supreme Court has “never

allowed the government to prohibit candidates from communicating relevant

information to voters during an election.” Republican Party of Minnesota v. White,

536 U.S. 765, 781-82 (2002). Yet the panel opinion does just that. Add.A67-68.

      The opinion holds that President Trump must be silenced to protect trial

participants from possible threats or “harassment” from unrelated third parties.

Add.A28, 33, 35, 43, 46, 52, 53, 61, 62, 64. In doing so, the opinion conflicts with

decisions of the Supreme Court and other Circuits, warranting en banc consideration

both to secure uniformity of this Court’s decisions and because of the question’s

exceptional importance. Fed. R. App. P. 35(b)(1)(A)-(B).

      First, the panel opinion contradicts Supreme Court precedent and deepens a

preexisting circuit split on the governing standard for gagging a criminal defendant’s

pretrial statements. Compare United States v. Ford, 830 F.2d 596, 598 (6th Cir.

1987), with United States v. Brown, 218 F.3d 415, 425-28 (5th Cir. 2000).

Confronted with a two-way split, the panel opinion adopts a third standard, for which

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it cites no authority. Add.A3, 25, 67. In so holding, the panel reasons that the

Supreme Court repudiated the long-established “clear and present danger” test in

Landmark Communications, Inc. v. Virginia, 435 U.S. 829, 842 (1978), when in fact

the Court clarified and applied the test in that case, id. at 844-45.

      Second, the panel opinion conflicts with the Fifth and Sixth Circuits on the

critical importance of campaign speech in gagging a criminal defendant. Though

they differed on the governing standard, both Ford and Brown reached the same

result—in both cases, the candidate-defendant was given nearly “absolute freedom”

to discuss his case during the pendency of the campaign. Brown, 218 F.3d at 430.

The panel opinion, by contrast, authorizes extensive restrictions on the core political

speech of the leading candidate for President of the United States, based on

effectively nonexistent evidentiary justifications. Add.A67-68.

      Third, the panel opinion conflicts with precedent of the Supreme Court and

other Circuits by justifying speech restrictions based on a “heckler’s veto” theory—

i.e., the anticipated reaction of independent audience members to President Trump’s

speech. Add.A40-43. The panel opinion justifies this reasoning on the basis that the

audience is not “hostile” to President Trump, Add.A41, but that justification

contradicts the Supreme Court’s incitement doctrine. Brandenburg v. Ohio, 395 U.S.

444, 448 (1969) (per curiam).




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      Fourth, the panel opinion conflicts with Supreme Court precedent that

requires a “solidity of evidence” to justify prior restraints on speech. Pennekamp v.

Florida, 328 U.S. 331, 347 (1946). Here, the prosecution presented no evidence of

any threats or harassment to any prosecutor, potential witness, or court staffer—the

only people protected by the gag order—during the case’s months-long pendency.

Likewise, the prosecution presented no evidence that any prosecutor, potential

witness, or court staffer felt intimidated by President Trump’s speech, despite the

prosecution’s unique access to such persons.

      Finally, the opinion warrants panel rehearing because it overlooks and

misapprehends points of fact by mischaracterizing the context of President Trump’s

public statements. See infra, Part V. It also overlooks and misapprehends numerous

points of law, discussed above. See Fed. R. App. P. 40(a)(2).1

                                   ARGUMENT

I.    The Panel Opinion Conflicts With the Supreme Court and Other Circuits
      on the Governing Standard for Gagging a Criminal Defendant.

      The panel opinion conflicts with decisions of the Supreme Court and the Fifth

and Sixth Circuits on the standard for gagging a criminal defendant’s speech.




1
 On December 13, 2023, the district court stayed proceedings pending the outcome
of President Trump’s appeal relating to Presidential immunity and double jeopardy.
D.Ct. Doc. 186. The district court, however, held that it would retain jurisdiction to
enforce the gag order challenged in this appeal during the stay. See id. at 2-3.
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      In Ford, the Sixth Circuit held that gagging a criminal defendant’s speech

requires a showing of a “clear and present danger” to the administration of justice.

830 F.2d at 598 (adopting “the exacting ‘clear and present danger’ test for free speech

cases”); id. (rejecting the alternative standard of “likelihood that prejudicial news

prior to trial will prevent a fair trial”); id. at 600 (applying “the clear and present

danger standard”). The Supreme Court has often applied the clear-and-present-

danger standard to court proceedings. See, e.g., Landmark, 435 U.S. at 844-45; New

York Times Co. v. Sullivan, 376 U.S. 254, 273 (1964) (holding that “repression” of

speech about court proceedings “can be justified, if at all, only by a clear and present

danger of the obstruction of justice”); Pennekamp, 328 U.S. at 347 (requiring “a

clear and present danger to judicial administration”); Bridges v. California, 314 U.S.

252, 262 (1941) (“[T]he ‘clear and present danger’ language …. has afforded

practical guidance in a great variety of cases….”).

      In Brown, considering a gag order on a criminal defendant, the Fifth Circuit

came to the opposite conclusion. 218 F.3d at 425-28. It rejected the “clear and

present danger” test that Ford adopted, and it adopted the “substantial likelihood of

material prejudice” test that Ford rejected. See id. at 428. The Fifth Circuit

concluded that the Supreme Court’s intervening opinion in Gentile v. State Bar of

Nevada, 501 U.S. 1030 (1991)—which held that the “substantial likelihood”




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standard may apply to attorneys, id. at 1064-76—requires the same standard to apply

to all “trial participants.” Brown, 218 F.3d at 428.

      Confronted with this circuit split, the panel opinion opted for a third standard:

“a significant and imminent threat to the fair and orderly adjudication of the ongoing

criminal proceeding.” Add.A3; see also id. at A25, 28, 31, 36, 39, 67. The panel

opinion cited no authority for this test. See id. The panel opinion rejected the “clear

and present danger” standard as one that “gets constitutional precedent wrong,” id.

at A28; but it also stated that its “significant and imminent threat” test reflects more

“demanding scrutiny” than the prosecution’s proposed “substantial likelihood” test,

id. at A27. Thus, the panel opinion’s standard falls somewhere between the “clear

and present danger” standard—which it rejects, id. at A27-30; and the “substantial

likelihood of material prejudice” standard—which it “assume[s] without deciding”

is not “demanding” enough, id. at A27.

      Because the panel opinion plainly envisions that the three standards materially

differ, see id. at A27-28; but see Gentile, 501 U.S. at 1037 (plurality opinion of

Kennedy, J.) (suggesting that two of the standards “approximate[]” each other), the

decision creates a three-way circuit split on the standard for gagging a criminal

defendant during criminal proceedings.

      The panel opinion also holds that the “clear-and-present-danger test” has “no

legal mooring,” because Landmark supposedly held that this standard is “not a

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proper ‘formula for adjudicating cases.’” Add.A29 (quoting Landmark, 435 U.S. at

842). But Landmark merely rejected the “mechanical application of the test” and

held that “[p]roperly applied, the test requires a court to make its own inquiry into

the imminence and magnitude of the danger….” 435 U.S. at 842-43 (emphases

added). Indeed, Landmark clarified and applied the clear-and-present-danger test in

that case. Id. at 845 (holding that “the clear-and-present-danger test … cannot be

met here”); id. (holding that “the test requires that the danger be ‘clear and

present’”); id. at 844 (addressing whether the statements presented a “clear and

present danger to the administration of justice”).

II.   The Panel Opinion Conflicts With the Supreme Court and Other Circuits
      on the Importance of Campaign Speech.

      The panel opinion conflicts with Brown and Ford, not just on the governing

legal standard, but in practical outcome. The panel opinion permits significant

restrictions on the core political speech of a criminal defendant who is a political

candidate at the height of his campaign for office. Add.A67-68. By contrast, in both

Ford and Brown, the defendant-candidate was given virtually unfettered discretion

to speak publicly about his case during the campaign.

      In Ford, the Sixth Circuit gave Congressman Ford unfettered latitude to speak

about his prosecution during his campaign, emphasizing that “the defendant, a

Democrat … is entitled to attack the alleged political motives of the Republican

administration which he claims is persecuting him because of his political views and
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his race.” Ford, 830 F.2d at 600-01. Congressman Ford, the court reasoned, “will

soon be up for reelection. His opponents will attack him as an indicted felon.” Id.

at 601. “He will be unable to respond in kind if the District Court’s order remains

in place. He will be unable to inform his constituents of his point of view.” Id.

      Likewise, in Brown, the district court “temporarily lifted the gag order … to

avoid interfering with Brown’s re-election campaign.” 218 F.3d at 419. “The district

court … made special allowances for Brown’s re-election campaign by lifting most

of the order … for the duration of his campaign,” so that “Brown was able to answer,

without hindrance, the charges of his opponents regarding his indictment throughout

the race.” Id. at 430. Citing this decision, the Fifth Circuit stated that “[t]he urgency

of a campaign … may well require that a candidate, for the benefit of the electorate

as well as himself, have absolute freedom to discuss his qualifications….” Id.

(emphasis added). Thus, though they disagree on the legal standard to apply, the

courts in Brown and Ford are closely aligned in outcome—the political candidate in

each case was given virtually “absolute freedom” to discuss the case. Id.

      Indeed, the gag order has been criticized across the political spectrum for

interfering with the voters’ ability to hear from the leading Presidential candidate.

See, e.g., Terry Evans, Democrats’ Drive To Impose ‘Gag’ Orders on Trump Is Blow

to      Free       Speech,       THE       MILITANT         (Nov.         13,     2023),

https://themilitant.com/2023/11/04/democrats-drive-to-impose-gag-orders-on-

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trump-is-blow-to-free-speech/ (“Gag orders on the former president … muzzle what

he can say during the campaign and … disenfranchise[e] the tens of millions who

want to vote for him.”); Besty McCaughey, Why the ACLU Is Going To Bat For

Donald Trump, N.Y. POST (Nov. 1, 2023) (arguing that the Gag Order violates “the

public’s right to hear Trump’s views so it can decide ‘whether he deserves to be

elected again’”); The Editors, The Trump Gag Order Goes Too Far, NATIONAL

REVIEW (Oct. 18, 2023) (“Not only is free speech his right—it is the right of voters

in the forthcoming primary and general elections to hear it before choosing the

nation’s next president.”); Isaac Arnsdorf et al., In Trump Cases, Experts Say

Defendant’s Rhetoric Will Be Hard To Police, WASHINGTON POST (Aug. 23, 2023)

(the court should “permit voters access to the defendant’s statements as they decide

how to cast their ballots…”).

      In stark contrast, the panel opinion here treats the fact that President Trump is

the leading candidate for President as virtually insignificant. The panel opinion

notes the crucial importance of campaign speech, see Add.A16, 44—but when it

actually analyzes the question, it explicitly declines to give the presence of campaign

speech any weight, treating it instead as equivalent to “political speech generally.”

Add.A43 n.14; id. at A48.

      This analysis contradicts Supreme Court precedent, which instructs that the

First Amendment “has its fullest and most urgent application precisely to the conduct

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of campaigns for political office.” Susan B. Anthony List v. Driehaus, 573 U.S. 149,

162 (2014) (quoting Monitor Patriot Co. v. Roy, 401 U.S. 265, 272 (1971)). The

panel opinion cites this principle, Add.A16, but then disregards it in the actual

analysis, id. at A43-45.

      The panel’s justification for disregarding the campaign-speech doctrine is

puzzling. The panel states in a footnote that “[a]t oral argument, Mr. Trump stated

that his position would be the same even if there were no political campaign

underway, as he would still be engaged in political speech. Given that position, we

focus on the protection of political speech generally.” Add.A43 n.14 (citing Oral

Arg. Tr. 5:14-6:20). But at oral argument, President Trump’s counsel stated that, if

there were no campaign, “[o]ur position would be that it’s still unconstitutional, but

the campaign adds an additional and very powerful reason why it is

unconstitutional.” Oral Arg. Tr. 7:7-9. Counsel then described the campaign-speech

doctrine as the “crown jewel” of the arguments favoring reversal, while also

emphasizing several independently sufficient grounds. Id. 7:15-8:7. President

Trump did not waive reliance on the campaign-speech doctrine by describing it as

his “most power[ful] and compelling” argument. Id. at 8:6-7. President Trump’s

assertion of alternative grounds for reversal does not negate the Supreme Court’s

instruction that the First Amendment have its “fullest and most urgent application”

to campaign speech. Susan B. Anthony List, 573 U.S. at 162.

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III.   The Panel Opinion Conflicts With Decisions of the Supreme Court and
       Other Circuits by Restricting Political Speech Based on a Heckler’s Veto.

       The panel opinion relies heavily on the audience’s anticipated reaction to

President Trump’s speech—specifically, the concern that President Trump’s speech

might lead unidentified third parties to “threaten” or “harass” trial participants. See,

e.g., Add.A5-9, 28, 31-35, 38-39, 43, 46-47, 52-53, 61-62, 64.

       This justification contradicts the case law of the Supreme Court and other

Circuits. Under the First Amendment, public speakers “are not chargeable with the

danger” that their audiences “might react with disorder or violence.” Brown v.

Louisiana, 383 U.S. 131, 133 n.1 (1966) (plurality op.); Forsyth County v.

Nationalist Movement, 505 U.S. 123, 134-35 (1992) (“Speech cannot be … punished

or banned, simply because it might offend a hostile mob.”).

       The panel opinion distinguishes these cases on the ground that they involve

speech that might “offend a hostile mob,” Add.A41 (panel’s emphasis)—whereas

here the panel is concerned that President “Trump’s followers will act minaciously

in response to his words,” id. (emphasis added). Under Supreme Court precedent,

however, this distinction makes no difference. Speech cannot be prohibited based

solely on the audience’s reaction, regardless of whether that reaction is hostile to the

speaker, or hostile to those the speaker criticizes: “The Government may not … t[ie]

censorship to the reaction of the speaker’s audience.” Matal v. Tam, 582 U.S. 218,

250 (2017) (Kennedy, J., concurring in part and concurring in the judgment)
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(emphasis added); see also, e.g., Forsyth County, 505 U.S. at 134 (“Listeners’

reaction to speech is not a content-neutral basis for regulation.”); Saxe v. State Coll.

Area Sch. Dist., 240 F.3d 200, 209 (3d Cir. 2001) (Alito, J.) (“[T]he government may

not prohibit speech under a ‘secondary effects’ rationale based solely on the emotive

impact that its offensive content may have on a listener….”).

      The incitement doctrine forecloses the panel opinion’s analysis. Unless

speech qualifies as incitement to imminent lawless action—which President Trump’s

does not—it cannot be prohibited on the ground that it might lead independent third-

party actors to misbehave. Such a restriction “impermissibly intrudes upon the

freedoms guaranteed by” the First Amendment and “sweeps within its condemnation

speech which our Constitution has immunized from governmental control.”

Brandenburg, 395 U.S. at 448; id. at 444-45, 448-49 (holding that the First

Amendment protects “advocacy” of criminal and other behavior that falls short of

“incitement to imminent lawless action”). The Supreme Court treats this rule as

categorical, see id. at 447 (describing the contrary rule as “thoroughly

discredited”)—yet the panel opinion disregards it.

      In so holding, the panel opinion sets an especially dangerous precedent in the

current age. Third-party heckling by random listeners is an all-too-frequent feature

of online discourse. See, e.g., Emily A. Vogels, The State of Online Harassment,

PEW RESEARCH CENTER (Jan. 13, 2021). Speech by any high-profile public figure

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on a controversial issue is often followed by abusive comments from unrelated third

parties—which can speedily be characterized as “harassment” or “threats” by those

seeking to silence disfavored viewpoints. The panel’s opinion provides a sleeper

justification for silencing enormous quantities of core political speech on matters of

utmost public importance. Indeed, that is exactly what happened here—the panel

opinion silences President Trump because it anticipates that some tiny minority of

his over 100 million listeners, over whom he has no control, might heckle others in

response to his core political speech. Add.A41.

IV.   The Panel Opinion Conflicts With Supreme Court Precedent Requiring
      “Solidity of Evidence” To Justify Pretrial Speech Restrictions.

      The Supreme Court has emphasized the importance of the evidentiary burden

required for pretrial speech restrictions, requiring a “solidity of evidence” to justify

them. Pennekamp, 328 U.S. at 347; see also Nebraska Press Ass’n v. Stuart, 427

U.S. 539, 565 (1976) (invalidating a prior restraint where “the record is lacking in

evidence to support such a finding”). To justify a prior restraint, “the substantive

evil must be extremely serious and the degree of imminence extremely high before

utterances can be punished, and … a solidity of evidence is necessary to make the

requisite showing of imminence. The danger must not be remote or even probable;

it must immediately imperil.” Landmark, 435 U.S. at 845 (quotation marks omitted)

(quoting Bridges, 314 U.S. at 263; Pennekamp, 328 U.S. at 347; and Craig v.

Harney, 331 U.S. 367, 376 (1947)).
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      The panel opinion’s justification falls far short of this “heavy burden of

showing justification for the prior restraint.” Nebraska Press Ass’n, 427 U.S. at 558.

The prosecution produced no evidence of any “threats” or “harassment” received by

any court staffer, potential witness, or prosecutor in this case. Instead, the panel

opinion relies heavily on supposed threats and harassment that occurred nearly three

years ago. Add.A5-7. In less stringent contexts, the Supreme Court rejects causal

“theories that rest on speculation about the decisions of independent actors.”

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 (2013). The panel erred by

disregarding this guidance here.

V.    Panel Rehearing Is Also Warranted Because the Panel Opinion
      Overlooks or Misapprehends Material Points of Fact and Law.

      The decision also warrants panel rehearing because it overlooks or

misapprehends material points of fact and law. Fed. R. App. P. 40(a)(2).

      For example, the panel opinion states that “[t]he day after Mr. Trump’s ‘IF

YOU GO AFTER ME, I’M COMING AFTER YOU!’ post, one of his supporters

called the district court judge’s chambers” and made racist threats. Add.A8 (citing

United States v. Shry, No. 4:23-cr-413, ECF 1, at 3 (S.D. Tex. Aug. 11, 2023)). The

panel concludes that President Trump’s post caused this threat. Add.A33 (describing

this threat as a “real-world consequence[]” of this post). President Trump’s post did

not refer to the case at all, but to contemporaneous reports that the Koch brothers


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were funding PACs against him.2 Moreover, the panel overlooks evidence from the

docket in Shry indicating that President Trump’s post did not cause Shry’s threat.

The credited testimony at Shry’s detention hearing states that the threat was inspired

by her watching the news, not social media. Shry’s father testified that she is a “non-

violent alcoholic” who “sits on the couch daily watching the news while drinking

too many beers,” and “becomes agitated by the news and starts calling people and

threatening them.” Shry, Doc. 8, at 3 (emphasis added). Social media is not

mentioned. Since the most pervasive subject on “the news” at the time was the

Special Counsel’s inflammatory press conference announcing the indictment, if

anything, this evidence supports the inference that the threat was inspired by the

Special Counsel, not President Trump.

      The panel also states that President Trump’s social-media posts accused Vice

President Pence of “going to the ‘Dark Side’” and “‘making up stories about’ the

events of January 6, 2020.” Add.A8, 31. But Pence was then a rival candidate for

the Republican nomination for President who had just given a major speech

attacking President Trump on these very issues. James Oliphant, Pence Urges



2
  See Alexandra Ulmer, US Conservative Group Led by Billionaire Koch To Spend
Big      To     Beat     Trump,     REUTERS      (June      29,     2023),     at
https://www.reuters.com/world/us/us-conservative-group-led-by-billionaire-koch-
set-spend-beat-trump-2023-06-29/; Brian Schwarz, Trump Goes on Offense Against
Koch Network, CNBC (Aug. 7, 2023), at https://www.cnbc.com/2023/08/07/trump-
goes-on-offense-against-koch-network.html; Appellant’s Br. 15 n.7.
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Republican Voters To Reject Trump-Style Populism, REUTERS (Sept. 6, 2023). On

August 1, 2023, the indictment alleged that President Trump had told Pence “you’re

too honest.” J.A.52. As a result, “the Pence campaign updated its merch[andise]

offerings to take advantage” of the allegation to include “a hat and a shirt, both

bearing the two-word phrase ‘Too Honest.’”             Dave Mendez, Pence Boosts

Fundraising Off Trump’s ‘Too Honest’ Comment Mentioned in Indictment,

SPECTRUM         NEWS      (Aug.     3,     2023),      at    https://ny1.com/nyc/all-

boroughs/politics/2023/08/04/pence-boosts-fundraising-off-of-trump-s--too-

honest--quote.    Pence also fundraised off this and raised “more than 7,400

donations” as a result. Id. Thus, President Trump—in an August 5, 2023, social-

media post—stated that he “never” stated that “Mike was ‘too honest,’” and accused

Pence of having “gone to the Dark Side.” J.A.85.

      The panel opinion assumes that President Trump has no valid interest in

speaking about prosecutors other than the Special Counsel. Add.A67-68. This

overlooks, for example, that one of those prosecutors raised concerns about undue

political influence by meeting at the White House during the investigation—

discussion of which constitutes core political speech. See Appellant’s Br. 4-5 (citing

Jon Levine, Biden Staffers Met With Special Counsel Jack Smith’s Aides Before

Trump       Indictment,       N.Y.        POST       (Aug.      26,       2023),     at

https://nypost.com/2023/08/26/biden-staffers-met-with-special-counsel-jack-

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smiths-aides-before-trump-indictment/). The panel opinion assumes that President

Trump has no valid interest in speaking about the Special Counsel’s “family

members.” Add.A3. This overlooks that the Special Counsel’s wife has close ties

to the Obama family, which raises concerns of political bias that constitute core

political speech. Reply Br. 5 n.1 (citing Victor Nava, Trump Special Counsel’s Wife

Worked on Obama Film and Donated to Biden, N.Y. POST (Nov. 11, 2023), at

https://nypost.com/2022/11/23/trump-special-counsels-wife-worked-on-obama-

film-and-donated-to-biden/).

      As these examples—among many others—demonstrate, the First Amendment

injuries are not allayed by the panel opinion’s attempts to narrow the scope of the

district court’s gag order. Add.A67-68. The order, as modified, suppresses large

quantities of core political speech of direct relevance to the Presidential campaign.

Among other things, it silences the leading candidate for President of the United

States from making specific comments on the “potential participation” of

“reasonably foreseeable witnesses” in this case—where the “reasonably foreseeable

witnesses” comprise major public figures who publicly attack President Trump amid

his campaign, such as Vice President Pence, Attorney General Barr, and similar

figures. Id. For its other restrictions, the order imposes a mens rea requirement, but

the panel opinion then ominously suggests that virtually any statement that results




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in third-party heckling will satisfy the mens rea requirement. Id. at A66. Both the

gag order and its continued chilling effect are unconstitutional.

                                  CONCLUSION

      This petition for panel rehearing and/or en banc consideration should be

granted. Furthermore, the Court should enter an administrative stay of the gag order

pending consideration of this petition. See, e.g., Add.A11; Garza v. Hargan, 2017

WL 4707112, at *1 (D.C. Cir. Oct. 19, 2017) (per curiam) (unpublished order);

Petteway v. Galveston County, 2023 WL 8290715, at *1 (5th Cir. Nov. 10, 2023)

(per curiam) (unpublished order).


Dated: December 18, 2023               Respectfully Submitted,

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             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued November 20, 2023          Decided December 8, 2023

                                   No. 23-3190

                           UNITED STATES OF AMERICA,
                                   APPELLEE

                                         v.

                                DONALD J. TRUMP,
                                  APPELLANT


                    Appeal from the United States District Court
                            for the District of Columbia
                               (No. 1:23-cr-00257-1)



                D. John Sauer argued the cause for appellant. With him
            on the briefs were John F. Lauro, Emil Bove, William O.
            Scharf, and Michael E. Talent.

                Brenna Bird, Attorney General, Office of the Attorney
            General for the State of Iowa, and Eric H. Wessan, Solicitor
            General, were on the brief for amici curiae Iowa, et al. in
            support of appellant.




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                 Gene P. Hamilton and Judd E. Stone, II were on the brief
            for amicus curiae America First Legal Foundation in support
            of appellant.

                Dennis Grossman was on the brief for amicus curiae
            Christian Family Coalition in support of appellant.

                 Cecil W. VanDevender, Assistant Special Counsel, U.S.
            Department of Justice, argued the cause for appellee. With him
            on the brief were J.P. Cooney, Deputy Special Counsel,
            Raymond N. Hulser, Counselor to the Special Counsel, James
            I. Pearce and John M. Pellettieri, Assistant Special Counsels,
            and Molly G. Gaston and Thomas P. Windom, Senior Assistant
            Special Counsels.

                Before: MILLETT, PILLARD, and GARCIA, Circuit Judges.

                Opinion for the Court filed by Circuit Judge MILLETT.

                 MILLETT, Circuit Judge:* A federal grand jury indicted
            former President Donald J. Trump for conspiring to overturn
            the 2020 presidential election through unlawful means and for
            obstructing the election’s certification. Soon thereafter, Mr.
            Trump posted multiple statements on his social media account
            attacking potential witnesses in the case, the judge, and the
            Special Counsel and his staff prosecuting the case. The district
            court subsequently issued an order restraining the parties and
            their counsel from making public statements that “target” the
            parties, counsel and their staffs, court personnel, and “any



            *
             NOTE: Portions of this opinion contain sealed information, which
            has been redacted.




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            reasonably foreseeable witness or the substance of their
            testimony.”

                 Mr. Trump appeals the district court’s order. His appeal
            involves the confluence of two paramount constitutional
            interests: the freedom of speech guaranteed by the First
            Amendment and the federal courts’ vital Article III duty to
            ensure the fair and orderly administration of justice in criminal
            cases. We agree with the district court that some aspects of Mr.
            Trump’s public statements pose a significant and imminent
            threat to the fair and orderly adjudication of the ongoing
            criminal proceeding, warranting a speech-constraining
            protective order. The district court’s order, however, sweeps
            in more protected speech than is necessary. For that reason, we
            affirm the district court’s order in part and vacate it in part.

                 Specifically, the Order is affirmed to the extent it prohibits
            all parties and their counsel from making or directing others to
            make public statements about known or reasonably foreseeable
            witnesses concerning their potential participation in the
            investigation or in this criminal proceeding. The Order is also
            affirmed to the extent it prohibits all parties and their counsel
            from making or directing others to make public statements
            about—(1) counsel in the case other than the Special Counsel,
            (2) members of the court’s staff and counsel’s staffs, or (3) the
            family members of any counsel or staff member—if those
            statements are made with the intent to materially interfere with,
            or to cause others to materially interfere with, counsel’s or
            staff’s work in this criminal case, or with the knowledge that
            such interference is highly likely to result. We vacate the Order
            to the extent it covers speech beyond those specified categories.
            See 28 U.S.C. § 2106.




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                                           I

                                           A

                 On August 1, 2023, a federal grand jury in Washington,
            D.C., indicted former President Donald J. Trump on four
            felony counts of conspiring to overturn the 2020 presidential
            election. See Indictment ¶¶ 1–4, 127–128. Specifically, the
            indictment alleges that then-President Trump and his co-
            conspirators “used knowingly false claims of election fraud to
            get state legislators and election officials to subvert the
            legitimate election results[,]” “attempted to use the power and
            authority of the Justice Department to conduct sham election
            crime investigations[,]” and “attempted to enlist the Vice
            President to use his ceremonial role at the January 6
            certification proceeding to fraudulently alter the election
            results.” Indictment ¶ 10.

                 The conduct charged in the indictment arises out of then-
            President Trump’s refusal to concede his loss in the 2020
            presidential election. Indictment ¶¶ 1–2. He claimed that there
            had been outcome-determinative fraud and that he had actually
            won. Indictment ¶ 2; see also President Donald J. Trump,
            Statement on 2020 Election Results at 0:34–0:46, 18:11–18:15,
            C-SPAN (Dec. 2, 2020) (claiming that the election was
            “rigged” and characterized by “tremendous voter fraud and
            irregularities”).1

                According to the indictment, then-President Trump waged
            a campaign to remain in power by publicly and privately

            1
              https://www.c-span.org/video/?506975-1/president-trump-stateme
            nt-2020-election-results.




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            pressuring state and local officials to overturn the 2020 election
            results, even though he lacked any proof of relevant
            irregularities, voter fraud, or vote rigging. Indictment ¶ 10; see,
            e.g., Donald J. Trump for President, Inc. v. Secretary of
            Pennsylvania, 830 F. App’x 377, 381 (3d Cir. 2020)
            (“[C]alling an election unfair does not make it so. Charges
            require specific allegations and then proof. We have neither
            here.”).

                 During the alleged efforts to overturn the 2020 election
            results, the then-President lambasted several state and local
            officials, often naming and blaming specific individuals on
            social media for not supporting his claims of election fraud.
            Special Counsel Mot. to Ensure that Extrajudicial Statements
            Do Not Prejudice These Proceedings 2–5, ECF 57 (Sept. 15,
            2023) (“Special Counsel Mot.”); see Indictment ¶¶ 28, 32. Mr.
            Trump’s statements subjected those persons to threats and
            abuse from his supporters. Special Counsel Mot. 3–5. One
            official explained: “After the President tweeted at me by name,
            calling me out the way that he did, the threats became much
            more specific, much more graphic, and included not just me by
            name but included members of my family by name, their ages,
            our address, pictures of our home. Just every bit of detail that
            you could imagine. That was what changed with that tweet.”
            Special Counsel Mot. 3; Indictment ¶ 42. Another official
            explained that he needed additional police protection and
            avoided

                       . Special Counsel Mot. 3                 . And after
            then-President Trump criticized a governmental office for
            certifying the election, a member of that office had to
                       when one of the then-President’s supporters posted




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            the official’s address online. Special Counsel Mot. 3
                       .

                 In addition, then-President Trump is alleged to have
            publicly criticized and shortly thereafter fired the Director of
            the Department of Homeland Security’s Cybersecurity and
            Infrastructure Security Agency for making statements
            reassuring the public about the 2020 presidential election’s
            security. Indictment ¶ 11; Special Counsel Mot. 4. Two weeks
            later, a lawyer then working for Mr. Trump publicly stated that
            the director “should be drawn and quartered. Taken out at
            dawn and shot.” Special Counsel Mot. 4; Ben Fox,
            Cybersecurity Official Fired by Trump Sues Over Threats,
            ASSOCIATED PRESS (Dec. 8, 2020). That statement prompted a
            wave of death threats against the former official and his family
            that forced them to evacuate their home until the danger abated.
            Special Counsel Mot. 4.

                 The then-President and his campaign also allegedly
            singled out private individuals. Indictment ¶¶ 21, 31; see id.
            ¶¶ 26, 29. A Georgia election worker, for example, testified
            before a congressional committee that she and her family were
            bombarded with violent and racist threats after the then-
            President, falsely and without any evidentiary basis, accused
            her of election misconduct. Select Committee Tr. at 7:22–8:3,
            26:24–27:2 (May 31, 2022); Indictment ¶ 31. She testified:

                Do you know how it feels to have the President of the
                United States to target you? The President of the United
                States is supposed to represent every American, not to
                target one. But he targeted me, * * * a small-business
                owner, a mother, a proud American citizen who stood up
                to help Fulton County run an election in the middle of the




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                pandemic. * * * [W]hen someone as powerful as the
                President of the United States eggs on a mob, that mob will
                come.

            Special Counsel Mot. 4–5; see Select Committee Tr. at 8:8–20.

                                             B

                 At a hearing shortly after the indictment, the district court
            told the parties that it was “committed to ensuring that this case
            proceeds in the normal course that our criminal justice system
            prescribes.” Hr’g Tr. 71:3–5, ECF 29 (Aug. 11, 2023). The
            district court emphasized that it “intend[ed] to ensure that Mr.
            Trump is afforded all the rights that any citizen would have,”
            but then cautioned the parties that it would “prevent what the
            Supreme Court called in Sheppard v. Maxwell[, 384 U.S. 333
            (1966),] a ‘carnival atmosphere’ of unchecked publicity and
            trial by media rather than our constitutionally established
            system of trial by impartial jury.” Id. 71:11–16. To that end,
            the district court told both parties “to take special care in [their]
            public statements about this case[,]” adding that it would “take
            whatever measures are necessary to safeguard the integrity of
            these proceedings.” Id. 72:16–19.

                 Before and after the district court’s warning, Mr. Trump
            repeatedly used his public platform to denigrate and attack
            those involved in the criminal case against him. The day after
            his initial court appearance, Mr. Trump posted on his social
            media account: “IF YOU GO AFTER ME, I’M COMING
            AFTER YOU!” Special Counsel Mot. 6. He then shared with
            his over six million social media followers on Truth Social his
            view that the district court judge is a “fraud dressed up as a
            judge[,]” “a radical Obama hack[,]” and a “biased, Trump-




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            hating judge[.]” Special Counsel Mot. 8–9. He labeled the
            prosecutors in the case “[d]eranged[,]” “[t]hugs[,]” and
            “[l]unatics[.]” Special Counsel Mot. 8–9; Special Counsel
            Reply in Support of Special Counsel Mot. 10, ECF 64 (Sept.
            29, 2023) (“Special Counsel Mot. Reply”).

                 The day after Mr. Trump’s “IF YOU GO AFTER ME, I’M
            COMING AFTER YOU!” post, one of his supporters called
            the district court judge’s chambers and said: “Hey you stupid
            slave n[****]r[.] * * * If Trump doesn’t get elected in 2024,
            we are coming to kill you, so tread lightly b[***]h. * * * You
            will be targeted personally, publicly, your family, all of it.”
            Special Counsel Br. 5; see United States v. Shry, No. 4:23-cr-
            413, ECF 1 at 3 (Criminal Complaint) (S.D. Tex. Aug. 11,
            2023).

                Mr. Trump also took aim at potential witnesses named in
            the indictment, including former Vice President Michael
            Pence, whom he accused of going to the “Dark Side[.]” Special
            Counsel Mot. Reply 9; see Special Counsel Mot. 11 & n.20;
            Special Counsel Mot. Reply 9 (discussing attacks on former
            Attorney General Bill Barr).

                                           C

                 Arguing that Mr. Trump’s statements were
            “undermin[ing] the integrity of the[] proceedings” by
            impacting “the impartiality of the jury pool while
            simultaneously influencing witness testimony[,]” the Special
            Counsel asked the district court for an order restraining Mr.
            Trump’s public statements about the trial. Special Counsel
            Mot. 1, 15. Specifically, the prosecution sought to prohibit (1)
            “statements regarding the identity, testimony, or credibility of




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            prospective witnesses”; and (2) “statements about any party,
            witness, attorney, court personnel, or potential jurors that are
            disparaging and inflammatory, or intimidating.” Special
            Counsel Mot. 15. After full briefing and a hearing, the district
            court granted in part and denied in part the Special Counsel’s
            motion. Dist. Ct. Order at 1 (“Order”).

                 The district court first explained that an order restricting
            Mr. Trump’s speech about the District of Columbia or its
            residents was not necessary at that time to protect against
            contaminating the jury pool. Hr’g Tr. 82:24–83:4. Instead, the
            district court held that, on the record before it, any such taint
            could be addressed through rigorous questioning of potential
            jurors before empanelment. Id.

                 On the other hand, the court found that the former
            President’s speech posed “a significant and immediate risk that
            (1) witnesses will be intimidated or otherwise unduly
            influenced by the prospect of being themselves targeted for
            harassment or threats; and (2) attorneys, public servants, and
            other court staff will themselves become targets for threats and
            harassment.” Order at 2. Invoking both a local rule of criminal
            procedure, see LCrR 57.7(c), and the court’s obligation to “take
            such steps by rule and regulation that will protect [its]
            processes from prejudicial outside interferences[,]” Order at 1
            (quoting Sheppard, 384 U.S. at 363), the district court ordered:

                All interested parties in this matter, including the parties
                and their counsel, are prohibited from making any public
                statements, or directing others to make any public
                statements, that target (1) the Special Counsel prosecuting
                this case or his staff; (2) defense counsel or their staff; (3)
                any of this court’s staff or other supporting personnel; or




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                    (4) any reasonably foreseeable witness or the substance of
                    their testimony.

             Order at 3.

                  The district court then added that the Order did not prohibit
             “statements criticizing the government generally, including the
             current administration or the Department of Justice; statements
             asserting that Defendant is innocent of the charges against him,
             or that his prosecution is politically motivated; or statements
             criticizing the campaign platforms or policies of Defendant’s
             current political rivals[.]” Order at 3. The district court’s Order
             does not prohibit statements targeting the court or the judge
             herself. See Order at 1–3.

                                               D

                  The district court administratively stayed the Order while
             it considered Mr. Trump’s motion for a stay pending appeal.
             Minute Order of Oct. 20, 2023.

                 Soon thereafter, news broke asserting that Mark Meadows,
             Mr. Trump’s former Chief of Staff, was cooperating with the
             Special Counsel in exchange for immunity. See Katherine
             Faulders, Mike Levine & Alexander Mallin, Ex-Chief of Staff
             Mark Meadows Granted Immunity, Tells Special Counsel He
             Warned Trump About 2020 Claims, ABC NEWS (Oct. 24, 2023,
             6:11 PM).2 Hours later, Mr. Trump asked on social media
             whether Meadows was the type of “weakling[] and coward[]”
             who would “make up some really horrible ‘STUFF’” about Mr.
             Trump in exchange for “IMMUNITY against Prosecution

             2
                 https://perma.cc/VRG2-D6SZ.




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             (PERSECUTION!) by Deranged Prosecutor, Jack Smith.”
             Special Counsel Resp. in Opp’n to Mot. to Stay 9, ECF 120
             (Oct. 25, 2023) (“Special Counsel Stay Opp’n”).

                  Five days later, the district court denied Mr. Trump’s
             request for a stay pending appeal to this court. Order at 9, ECF
             124 (Oct. 29, 2023). As part of that denial, the district court
             further clarified that the Order’s reach should be read in light
             of the court’s discussions with counsel during the motion
             hearing that led to its issuance. Id. at 5–6.

                                            E

                  Mr. Trump timely filed an emergency appeal, a motion for
             a stay of the Order, and a request for an expedited appeal. See
             Emergency Mot. For Stay Pending Appeal at 1–2 (Nov. 2,
             2023). The next day, this court administratively stayed the
             Order and, because of the approaching trial date, set a highly
             expedited schedule for the merits appeal. See Per Curiam
             Order (Nov. 3, 2023).

                                            II

                                            A

                 We begin with our jurisdiction to hear this interlocutory
             appeal. Congress has generally limited the jurisdiction of
             federal courts of appeals to “final decisions of the district
             courts[.]” 28 U.S.C. § 1291. As a result, a party ordinarily may
             appeal only after the district court has resolved all claims and
             has entered a final judgment fully disposing of the case. Van
             Cauwenberghe v. Biard, 486 U.S. 517, 521–522 (1988);




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             Cincinnati Ins. Co. v. All Plumbing, Inc., 812 F.3d 153, 156
             (D.C. Cir. 2016).

                  One exception to this rule is the collateral-order doctrine,
             under which an interlocutory district court order may be
             appealed if it “(1) conclusively determines the disputed
             question, (2) resolves an important issue completely separate
             from the merits of the action, and (3) is effectively
             unreviewable on appeal from a final judgment.” Ameziane v.
             Obama, 620 F.3d 1, 5 (D.C. Cir. 2010) (citing Will v. Hallock,
             546 U.S. 345, 349 (2006)). In addition, in Mohawk Industries,
             Inc. v. Carpenter, 558 U.S. 100 (2009), the Supreme Court
             underscored that “the class of collaterally appealable orders
             must remain ‘narrow and selective in its membership.’” Id. at
             113 (quoting Will, 546 U.S. at 350). Jurisdiction exists only if
             the type of order at issue categorically satisfies the doctrine’s
             criteria. Id. at 107.

                  Orders restraining parties’ speech during the pendency of
             a criminal case categorically satisfy those criteria.

                  First, such orders, by their nature, conclusively determine
             whether parties may speak on specified matters pertaining to
             the criminal trial.

                  Second, such orders determine an important issue separate
             from the merits. A defendant’s ability to speak about his
             criminal trial is an important issue given the First
             Amendment’s broad protection of free speech and the public
             interest in the transparency of criminal trials and open
             discussion of the trial process. See Sheppard, 384 U.S. at 349–
             350. “[T]he criminal justice system exists in a larger context
             of a government ultimately of the people, who wish to be




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             informed about happenings in the criminal justice system, and,
             if sufficiently informed about those happenings, might wish to
             make changes in the system.” Gentile v. State Bar of Nevada,
             501 U.S. 1030, 1070 (1991).

                  In addition, speech restrictions in criminal trials arise from
             the need to protect the trial process and its truth-finding
             function; assessing their validity does not touch on a
             defendant’s guilt or innocence or any merits issues in the
             underlying case. See United States v. Brown, 218 F.3d 415,
             420 (5th Cir. 2000); In re Rafferty, 864 F.2d 151, 154 (D.C.
             Cir. 1988) (holding that an order restraining a civil plaintiff’s
             ability to disclose information to third persons “is entirely
             independent of the underlying wrongful discharge claim”).

                  Third, reviewing such orders after final judgment would
             not redress or undo any unconstitutional prohibitions of speech
             that occurred prior to or during trial. The damage to First
             Amendment interests would be done. And an order regulating
             speech prior to and during trial almost always will expire by its
             own terms once final judgment is entered in the criminal case,
             making any attempted appellate review at the end of the case
             moot.

                  In addition, no alternative mechanism for review would
             suffice. In theory, a party could breach the Order, be held in
             contempt, and then appeal the contempt ruling. But the
             Supreme Court has long held that requiring speakers to violate
             the law before vindicating their right to free speech would
             excessively chill protected speech. See, e.g., Virginia v. Hicks,
             539 U.S. 113, 119 (2003) (“Many persons, rather than
             undertake the considerable burden * * * of vindicating their
             rights through case-by-case litigation, will choose simply to




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             abstain from protected speech[.]”); cf. Susan B. Anthony List v.
             Driehaus, 573 U.S. 149, 158–159 (2014) (“[I]t is not necessary
             that petitioner first expose himself to actual arrest or
             prosecution to be entitled to challenge a statute that he claims
             deters the exercise of his constitutional rights[.]”) (quoting
             Steffel v. Thompson, 415 U.S. 452, 459 (1974)).

                  For those reasons, we hold that we have jurisdiction under
             the collateral-order doctrine. See In re Stone, 940 F.3d 1332,
             1340 (D.C. Cir. 2019) (“[O]ur Circuit has long allowed
             nonparties subject to a restrictive order to appeal that order
             under the collateral order doctrine.”); Rafferty, 864 F.2d at
             153–155 (order restraining a civil plaintiff’s ability to disclose
             information to third persons is appealable under the collateral-
             order doctrine); see also Brown, 218 F.3d at 420–422 (speech
             restraint in criminal trial is appealable under the collateral-
             order doctrine); United States v. Ford, 830 F.2d 596, 598 (6th
             Cir. 1987) (same).3

                                               B

                  Whether the Order violates the Constitution is a question
             of law subject to de novo review. See United States v. Popa,
             187 F.3d 672, 674 (D.C. Cir. 1999); United States v. Bronstein,
             849 F.3d 1101, 1106 (D.C. Cir. 2017). We review the district
             court’s factual findings for clear error and will overturn them
             only if we are “left with the definite and firm conviction that a
             mistake has been committed.” United States v. Miller, 35 F.4th
             807, 817 (D.C. Cir. 2022) (quoting United States v. United
             3
               Because the Order is appealable under the collateral-order doctrine,
             we need not address whether the Order is also an appealable
             injunction under 28 U.S.C. § 1292(a)(1), or whether to treat this
             appeal as a petition for writ of mandamus. See Trump Br. 4–6.




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             States Gypsum Co., 333 U.S. 364, 395 (1948)). On our review,
             this court can “affirm, modify, vacate, set aside or reverse” the
             district court’s Order. 28 U.S.C. § 2106.

                                            III

                  Two foundational constitutional values intersect in this
             case: an individual’s right to free speech and the fair and
             effective functioning of the criminal trial process and its truth-
             finding function. Because of the constitutional stakes, orders
             restricting a defendant’s speech must be drawn no more
             broadly or narrowly than necessary to ensure the fair
             administration of justice.

                                             A

                                The Right to Free Speech

                 Freedom of speech is a bedrock constitutional right.
             Americans are free to speak, listen to others, and make up their
             own minds about their government and the world around them.
             “The First Amendment reflects ‘a profound national
             commitment to the principle that debate on public issues should
             be uninhibited, robust, and wide-open.’” Snyder v. Phelps, 562
             U.S. 443, 452 (2011) (quoting New York Times Co. v. Sullivan,
             376 U.S. 254, 270 (1964)). “That is because ‘speech
             concerning public affairs is more than self-expression; it is the
             essence of self-government.’” Id. (quoting Garrison v.
             Louisiana, 379 U.S. 64, 74–75 (1964)).

                 Political speech in particular is the lifeblood of American
             democracy. It allows the free exchange of ideas among
             individuals about governance and the political process. Mills




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             v. Alabama, 384 U.S. 214, 218–219 (1966). “Whatever
             differences may exist about interpretations of the First
             Amendment, there is practically universal agreement that a
             major purpose of that Amendment was to protect the free
             discussion of governmental affairs.” Id. It also allows voters
             to make informed decisions about those who seek to represent
             them in government, including their character, qualifications,
             and policy platforms. “In a republic where the people are
             sovereign, the ability of the citizenry to make informed choices
             among candidates for office is essential, for the identities of
             those who are elected will inevitably shape the course that we
             follow as a nation.” Buckley v. Valeo, 424 U.S. 1, 14–15
             (1976).

                  For that reason, “the First Amendment ‘has its fullest and
             most urgent application’ to speech uttered during a campaign
             for political office.” Eu v. San Francisco County Democratic
             Cent. Comm., 489 U.S. 214, 223 (1989) (quoting Monitor
             Patriot Co. v. Roy, 401 U.S. 265, 272 (1971)). “The candidate,
             no less than any other person, has a First Amendment right to
             engage in the discussion of public issues and vigorously and
             tirelessly to advocate his own election and the election of other
             candidates.” Brown v. Hartlage, 456 U.S. 45, 53 (1982)
             (quoting Buckley, 424 U.S. at 52–53). That discussion is
             critical to enabling “the electorate [to] intelligently evaluate the
             candidates’ personal qualities and their positions on vital public
             issues before choosing among them on election day.” Id.

                 Free speech also holds government officials accountable.
             Public criticism and scrutiny of those in power exposes fraud,
             curbs the abuse of power, and roots out corruption. As relevant
             here, speech about judicial proceedings, especially criminal
             prosecutions, promotes transparency in the legal system and




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             “guards against the miscarriage of justice by subjecting the
             police, prosecutors, and judicial processes to extensive public
             scrutiny and criticism.” Sheppard, 384 U.S. at 350. “The
             judicial system, and in particular our criminal justice courts,
             play a vital part in a democratic state, and the public has a
             legitimate interest in their operations.” Gentile, 501 U.S. at
             1035.

                  “[T]o provide adequate ‘breathing space’” for robust
             public debate and participation, the First Amendment generally
             shields “insulting, and even outrageous, speech[.]” Snyder,
             562 U.S. at 458 (quoting Boos v. Barry, 485 U.S. 312, 322
             (1988)); cf. Virginia v. Black, 538 U.S. 343, 358 (2003). At the
             same time, certain “historic and traditional categories” of
             speech receive no First Amendment protection, such as
             defamation, incitement, “[t]rue threats of violence,” and
             obscenity. Counterman v. Colorado, 600 U.S. 66, 73–74
             (2023) (quotation marks omitted).

                  In addition, even protected speech may, and sometimes
             must, be regulated when necessary to protect a compelling
             governmental interest, including the fair administration of a
             criminal trial. See Sheppard, 384 U.S. at 362–363; Cox v.
             Louisiana, 379 U.S. 559, 563–565 (1965) (sustaining
             prohibition on picketing outside a courthouse, even though
             such activity is “intertwined with expression and
             association[,]” as necessary to protect trials from outside
             influence).




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                                            B

                                The Right to a Fair Trial

                  The Constitution affords Mr. Trump, like all criminal
             defendants, the “fundamental right to a fair trial.” Strickland
             v. Washington, 466 U.S. 668, 684 (1984). Foundational to our
             constitutional system is the requirement that, before the
             government may deprive a person of liberty, “impartial jurors,
             who know as little as possible of the case,” must decide the
             defendant’s guilt “based on material admitted into evidence
             before them in a court proceeding.” Gentile, 501 U.S. at 1070;
             see Irvin v. Dowd, 366 U.S. 717, 722 (1961). No one should
             be punished for a crime without “a charge fairly made and
             fairly tried in a public tribunal free of prejudice, passion,
             excitement and tyrannical power.” Chambers v. Florida, 309
             U.S. 227, 236–237 (1940).

                   Mr. Trump’s right to a fair trial does not give him “the
             right to insist upon the opposite of that right”—that is, a trial
             prejudiced in his favor. See Singer v. United States, 380 U.S.
             24, 36 (1965). The public has its own compelling interest “in
             fair trials designed to end in just judgments.” Wade v. Hunter,
             336 U.S. 684, 689 (1949); see Gentile, 501 U.S. at 1075;
             Brown, 218 F.3d at 600 n.1 (locating such interest in the
             common law and Article II’s Take Care Clause).

                  Accordingly, courts must take steps to protect the integrity
             of the criminal justice process, Sheppard, 384 U.S. at 363,
             giving “[f]reedom of discussion * * * the widest range” that is
             “compatible with the essential requirement of the fair and
             orderly administration of justice.” Pennekamp v. Florida, 328
             U.S. 331, 347 (1946). That standard requires courts to navigate




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             a narrow path. The Constitution gives them very limited
             authority to restrict the speech of the press and other outsiders
             to the litigation. Their speech generally may be abridged only
             if it presents a “clear and present danger to the administration
             of justice.” Landmark Commc’ns, Inc. v. Virginia, 435 U.S.
             829, 844 (1978); see Bridges v. California, 314 U.S. 252, 260–
             263 (1941).

                  In fact, court orders restraining speech about an ongoing
             criminal proceeding are presumptively unconstitutional.
             Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 558 (1976). In
             this context, prior restraints can be imposed only if narrowly
             tailored to redress sufficiently serious threats to the criminal
             justice process and if no less restrictive alternatives are
             available. Even then, “there is nothing that proscribes the press
             from reporting events that transpire in the courtroom.”
             Sheppard, 384 U.S. at 362–363; see Craig v. Harney, 331 U.S.
             367, 374 (1947) (“What transpires in the court room is public
             property.”).

                  At the same time, when a case involves extensive media
             coverage and public interest, or when the parties are trying the
             case in the media rather than the courtroom, a court cannot sit
             back and wait for a “carnival atmosphere” to descend before
             acting. Sheppard, 384 U.S. at 356–363. Quite the opposite.
             “[T]he primary constitutional duty of the Judicial Branch [is]
             to do justice in criminal prosecutions[.]” United States v.
             Nixon, 418 U.S. 683, 707 (1974). As part of that duty, courts
             must “prevent the prejudice” to the trial process “at its
             inception.” Sheppard, 384 U.S. at 363; see Nebraska Press,
             427 U.S. at 553 (The cure for prejudice to the trial “lies in those
             remedial measures that will prevent the prejudice at its
             inception.”) (quoting Sheppard, 384 U.S. at 363). That is




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             because waiting until the trial is over and reversing the
             conviction would be an ineffective, costly, and wasteful
             “palliative,” inflicting the additional burdens on a defendant
             and extra expenses on the taxpayers of a retrial in an already
             contaminated public atmosphere, with witness recall and
             evidence growing staler all the while. Sheppard, 384 U.S. at
             363; see Nebraska Press, 427 U.S. at 553.

                  As a result, courts have an ongoing obligation to ensure
             that speech about a criminal case does not “divert the trial from
             the ‘very purpose of a court system[,]’” which is “‘to adjudicate
             controversies, both criminal and civil, in the calmness and
             solemnity of the courtroom according to legal procedures.’”
             Sheppard, 384 U.S. at 350–351 (quoting Cox, 379 U.S. at 583
             (Black, J., dissenting)). Due process demands that “the
             conclusions to be reached in a case will be induced only by
             evidence and argument in open court, and not by any outside
             influence, whether of private talk or public print.” Id. at 351
             (quoting Patterson v. Colorado ex rel. Attorney General, 205
             U.S. 454, 462 (1907)); see Geders v. United States, 425 U.S.
             80, 86–87 (1976) (“If truth and fairness are not to be sacrificed,
             the judge must exert substantial control over the
             proceedings.”). The courts’ duty to protect trials from outside
             influence includes protecting court personnel from both the
             reality and the appearance of undue outside pressure. The
             Supreme Court “has recognized that the unhindered and
             untrammeled functioning of our courts is part of the very
             foundation of our constitutional democracy.” Cox, 379 U.S. at
             562 (citing Wood v. Georgia, 370 U.S. 375, 383 (1962))
             (sustaining the constitutionality of a state ban on picketing
             outside a courthouse “with the intent of influencing any judge,
             juror, witness, or court officer”).




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                  While courts have quite limited authority to quiet the
             speech of the press and public, the Constitution affords judges
             broader authority to regulate the speech of trial participants.
             See, e.g., Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32 n.18
             (1984) (noting that “court[s] often find[] it necessary to restrict
             the free expression of participants” to a trial) (emphasis added)
             (quoting Gulf Oil Co. v. Bernard, 452 U.S. 89, 104 n.21
             (1981)). The Supreme Court has pointedly said that “[n]either
             prosecutors, counsel for defense, the accused, witnesses, court
             staff nor enforcement officers coming under the jurisdiction of
             the court should be permitted to frustrate [the court’s]
             function.” Sheppard, 384 U.S. at 363. Courts “must” be
             proactive, id., and, when warranted, “proscribe[] extrajudicial
             statements by any lawyer, party, witness, or court official”
             engaging in “prejudicial” communications, id. at 361. See id.
             at 359 (“[T]he court should have made some effort to control
             the release of leads, information, and gossip to the press by
             police officers, witnesses, and the counsel for both sides.”); see
             also Seattle Times, 467 U.S. at 36–37 (holding that a court may
             prohibit a newspaper that is party to a case from publishing
             information obtained through the discovery process).

                  In Gentile v. State Bar of Nevada, 501 U.S. 1030 (1991),
             the Supreme Court discussed a state’s authority to regulate the
             speech of participants in a criminal case. There, a lawyer
             representing a criminal defendant in an ongoing criminal
             proceeding held a press conference claiming that the
             prosecutors were not “honest enough to indict the people who
             did it,” and that the police were “crooked cops.” Id. at 1059.
             The state bar initiated disciplinary proceedings against the
             lawyer for violating a state bar rule prohibiting an attorney
             from publicly making certain extrajudicial statements. Id. at
             1033.




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                  The Supreme Court held that the First Amendment allows
             a court to prohibit the speech of a trial participant when the
             speech poses a “substantial likelihood of material prejudice” to
             an adjudicative proceeding. Gentile, 501 U.S. at 1075. In so
             ruling, the Court was explicit that the “stringent standard
             applied in Nebraska Press” does not apply “to speech by a
             lawyer whose client is a defendant in a criminal proceeding.”
             Id. at 1065; see id. at 1072–1076. One aspect of the Court’s
             reasoning focused on lawyers’ roles as “officers of the court,”
             id. at 1074 (quoting Nebraska Press, 427 U.S. at 601 n.27), a
             special status that “subjects them to fiduciary obligations to the
             court and the parties[,]” id. at 1057.

                  But the Court also drew on the “distinction between
             participants in the litigation and strangers to it[.]” Gentile, 501
             U.S. at 1072–1073. The Court emphasized that it had, in prior
             cases, “expressly contemplated that the speech of those
             participating before the courts could be limited.” Id. at 1071–
             1073 (citing Seattle Times, 467 U.S. at 32–33, 32 & n.18;
             Sheppard, 384 U.S. at 363; Sacher v. United States, 343 U.S.
             1, 8 (1952)). With this distinction in mind, the Court
             emphasized that participation in a case gives lawyers a
             distinctive public status and “special access to information
             through discovery and client communications[.]” Id. at 1074.
             Parties, too, have special access to information and accordingly
             may be subject to speech restrictions not appropriate for
             outsiders to the case.4

             4
               Gentile had two majority opinions. Four justices found that the
             state bar rule was unconstitutionally vague and would have found
             that the rule violated the First Amendment. Gentile, 501 U.S. at
             1051–1058 (Kennedy, J.). Four other justices found that the bar rule
             was not unconstitutionally vague and did not violate the First




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                  While Gentile involved regulating the speech of counsel
             for a criminal defendant, the law has long recognized the
             district court’s authority to control the speech and conduct even
             of defendants in criminal trials when necessary to protect the
             criminal justice process. See Nebraska Press, 427 U.S. at 553–
             554 (exhorting courts to take “remedial measures that will
             prevent * * * prejudice * * * [by] * * * the accused” and other
             persons “coming under the jurisdiction of the court”);
             Sheppard, 384 U.S. at 363 (similar).

                  In addition, after indictment, criminal defendants are
             frequently subjected to “substantial liberty restrictions as a
             result of the operation of our criminal justice system.” United
             States v. Salerno, 481 U.S. 739, 749 (1987). More specifically,
             as a less restrictive alternative to pre-trial detention, Congress
             granted courts the authority to release indicted defendants
             under the “least restrictive * * * condition, or combination of
             conditions [of release], that * * * will reasonably assure the
             appearance of the person as required and the safety of any other
             person and the community[.]” 18 U.S.C. § 3142(c)(1)(B).
             Such conditions commonly include measures that burden
             criminal defendants’ ability to act, associate, and speak. See
             id. § 3142(c)(1)(B)(i)–(xiv); see also GEORGE E. BROWNE &
             SUZANNE M. STRONG, U.S. DEP’T OF JUST. BUREAU OF JUST.
             STAT., PRETRIAL RELEASE AND MISCONDUCT IN FEDERAL
             DISTRICT COURTS, FISCAL YEARS 2011–2018, at 7 table 5


             Amendment. Id. at 1076, 1078 (Rehnquist, C.J.). Justice O’Connor
             joined Chief Justice Rehnquist’s opinion holding that the rule
             comported with the First Amendment, while agreeing with Justice
             Kennedy that it was impermissibly vague. Id. at 1082–1083
             (O’Connor, J., concurring).




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             (2022);5 AMBER WIDGERY, NAT’L ASS’N OF STATE
             LEGISLATURES, THE STATUTORY FRAMEWORK OF PRETRIAL
             RELEASE 5 (2020) (describing “limitations on contact with
             certain people, groups or places” and “adherence to or creation
             of protection or no-contact orders” as common statutory
             options for pretrial release conditions among States).6

                  As relevant here, Congress expressly authorized federal
             courts to order a criminal defendant to “avoid all contact with
             * * * a potential witness who may testify concerning the
             offense.” 18 U.S.C. § 3142(c)(1)(B)(v); cf. United States v.
             Perazza-Mercado, 553 F.3d 65, 70–71 (1st Cir. 2009)
             (canvassing different circuits’ approach to internet restrictions
             as a condition of supervised release and concluding such
             restrictions may be imposed upon a showing of particular
             need).

                  In this case, the district court prohibited Mr. Trump from
             speaking to any witnesses to the case, except through or in the
             presence of counsel. Order Setting Conditions of Release 3,
             ECF 13 (Aug 3, 2023). Mr. Trump agrees that straightforward
             prior restraint on his speech is “completely consistent with” the
             First Amendment because of his status as an indicted
             defendant. See Oral Arg. Tr. 31:13–32:1.

                                         *****

                 To sum up, the Constitution requires robust protection of
             speech about criminal trials and the government’s effort to

             5
                 https://perma.cc/V6VH-Q3TV.
             6
                 https://perma.cc/XHQ3-4UP7.




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             deprive a defendant of liberty. At the same time, the
             Constitution requires courts to ensure that outside speech and
             influences do not derail or corrupt the criminal trial process.
             On this record, the constitutional path for the presiding judge
             to protect both free speech and the fair and orderly
             administration of justice was not to limit what outsiders can say
             about the trial or trial participants, but to appropriately delimit
             what trial participants, including the accused, can say publicly
             to other participants, witnesses, or outsiders.

                                            IV

                  Given that constitutional backdrop, the Supreme Court’s
             decisions in Nebraska Press and Gentile provide the starting
             point for analyzing the district court’s authority to restrict a
             criminal defendant’s communications about the pending case.
             Nebraska Press and Gentile both require us to consider: (1)
             whether the Order is justified by a sufficiently serious risk of
             prejudice to an ongoing judicial proceeding; (2) whether less
             restrictive alternatives would adequately address that risk; and
             (3) whether the Order is narrowly tailored, including whether
             the Order effectively addresses the potential prejudice. See
             Nebraska Press, 427 U.S. at 562; Gentile, 501 U.S. at 1075–
             1076.

                  We hold that the district court had the authority to restrain
             those aspects of Mr. Trump’s speech that present a significant
             and imminent risk to the fair and orderly administration of
             justice, and that no less restrictive alternatives would
             adequately address that risk. We also hold that the district
             court’s Order was not narrowly tailored and modify its scope
             to bring it within constitutional bounds.




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                  While the Supreme Court has repeatedly said that district
             courts have the power, where necessary, to restrict the speech
             of the accused, it has never directly reviewed an order limiting
             the out-of-courtroom speech of a criminal defendant.

                  Like any other criminal defendant, Mr. Trump has a
             constitutional right to speak. And his millions of supporters, as
             well as his millions of detractors, have a right to hear what he
             has to say. See Virginia State Bd. of Pharmacy v. Virginia
             Citizens Consumer Council, Inc., 425 U.S. 748, 756–757
             (1976).

                  Also like any other criminal defendant, Mr. Trump does
             not have an unlimited right to speak. “Although litigants do
             not surrender their First Amendment rights at the courthouse
             door, those rights may be subordinated to other interests that
             arise in [the trial] setting.” Seattle Times, 467 U.S. at 32 n.18
             (formatting modified). In particular, the public has a
             compelling interest in ensuring that the criminal proceeding
             against Mr. Trump is not obstructed, hindered, or tainted, but
             is fairly conducted and resolved according to the judgment of
             an impartial jury based on only the evidence introduced in the
             courtroom. See Gentile, 501 U.S. at 1075; Wade, 336 U.S. at
             689.

                 The Supreme Court has instructed courts that when they
             are imposing orders restricting speech about judicial
             proceedings, they must in all cases consider both “the
             imminence and magnitude of the danger” to the judicial
             process that flows from the speech and “the need for free and
             unfettered expression.” Landmark Commc’ns, 435 U.S. at 843;




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             see id. at 842–843. Here, the relevant danger is the
             “substantive evil of unfair administration of justice[,]”
             Landmark Commc’ns, 435 U.S. at 844 (quoting Bridges, 314
             U.S. at 271), and impairment of “the unhindered and
             untrammeled functioning of our courts [that] is part of the very
             foundation of our constitutional democracy[,]” Cox, 379 U.S.
             at 562.

                  The parties vigorously contest what degree of danger to
             the judicial process must exist for a district court to restrain a
             criminal defendant’s speech. Trump Br. 26–29; Special
             Counsel Br. 20–29.

                  In Gentile, the Supreme Court held that speech by a trial
             participant—there, a defense attorney—could be restricted if it
             posed a “substantial likelihood of material prejudice” to the
             integrity of the proceedings. 501 U.S. at 1075. That bears
             some resemblance to this case in that Mr. Trump is a participant
             in the trial, not an outsider to it. But, as Mr. Trump fairly notes,
             in adopting the “substantial likelihood of material prejudice”
             standard in Gentile, the Supreme Court relied in part on
             lawyers’ roles as officers of the court and the special duties that
             lawyers owe to the court. See 501 U.S. at 1066–1068.

                 Criminal defendants, of course, have no similar
             obligations. In addition, under our system of justice, a criminal
             defendant—who is presumed to be innocent—may very well
             have a greater constitutional claim than other trial participants
             to criticize and speak out against the prosecution and the
             criminal trial process that seek to take away his liberty.

                Given those concerns, we assume without deciding that the
             most demanding scrutiny applies to the district court’s speech-




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             restricting Order, see Trump Op. Br. 31–34, 43–45, and that
             only a significant and imminent threat to the administration of
             criminal justice will support restricting Mr. Trump’s speech.

                 Mr. Trump disagrees and argues that the court may
             proscribe his speech only if it poses a “clear and present
             danger” to the trial process, Trump Br. 26–29, as laid out in
             Landmark Communications, Inc. v. Virginia, 435 U.S. 829,
             842–846 (1978), and Nebraska Press Association v. Stuart, 427
             U.S. 539, 559–564 (1976). He offers no alternative test. Oral
             Arg. Tr. 18:24–20:2. But his proposed rule gets constitutional
             precedent wrong.

                  First, Mr. Trump’s approach gives no inch to the need to
             protect the criminal justice process. He miscasts Supreme
             Court precedent discussing “clear and present danger” as
             preventing the district court from doing anything at all to curb
             speech other than duplicate existing criminal prohibitions
             against influencing witnesses, 18 U.S.C. § 1512(b), harassing
             those assisting in a prosecution, id. § 1512(d)(4), and unlawful
             threats, see, e.g., id. § 875; id. § 1503(a); D.C. Code § 22-407
             (misdemeanor threats); id. § 22-1810 (felony threats); see also
             Counterman, 600 U.S. at 74; Elonis v. United States, 575 U.S.
             723, 726 (2015). Tellingly, Mr. Trump was unable to identify
             any example of speech that could be protectively proscribed by
             the district court that was not already a violation of the criminal
             law, and so also of his release condition to comply with
             applicable federal, state, and District laws. See Oral Arg. Tr.
             21:3–19; Order Setting Conditions of Release 1.

                 The Supreme Court has been clear that the First
             Amendment permits, and Article III and due process principles
             require, courts to do more to protect the integrity of the criminal




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             justice process than to shake their finger at a defendant and tell
             him not to do what the law already forbids. See Sheppard, 384
             U.S. at 362–363.

                  Second, Mr. Trump’s version of the clear-and-present-
             danger test has no legal mooring. While the Supreme Court’s
             “clear and present danger” language reflects the Constitution’s
             great solicitude for free speech, the Supreme Court has said
             explicitly that “clear and present danger” is not a proper
             “formula for adjudicating cases.” Landmark Commc’ns, 435
             U.S. at 842 (quoting Pennekamp, 328 U.S. at 353 (Frankfurter,
             J., concurring)); see Gentile, 501 U.S. at 1036 (citing
             Landmark Commc’ns, 435 U.S. at 842–843). Instead, the
             Supreme Court has instructed that what “clear and present
             danger” translates to in practice is that courts must analyze
             whether any compelling interest justifies an appropriately
             limited speech restriction. See Landmark Commc’ns, 435 U.S.
             at 842–843. Yet Mr. Trump has refused to argue for any such
             weighing, insisting that “clear and present danger” is the only
             test that the court can apply and that it categorically prohibits
             any speech-limiting order in this case. Oral Arg. Tr. 18:24–
             20:2.

                  Finally, Mr. Trump’s proposed test fails to account for the
             difference between trial participants and nonparticipants.
             Neither Landmark Communications nor Nebraska Press
             involved restrictions on trial participants’ speech. In fact, the
             Supreme Court was at pains to point out in Landmark
             Communications that the case did not involve “any
             constitutional challenge to a State’s power * * * to punish
             participants for breach of [the confidentiality] mandate[,]” 435
             U.S. at 837 (emphasis added), and the Court explicitly noted
             that limiting the statute at issue to trial participants “might well




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             save the statute[,]” id. at 837 n.9. Instead, the “narrow and
             limited question presented” in Landmark Communications was
             “whether the First Amendment permits the criminal
             punishment of third persons who are strangers to the inquiry
             * * * for divulging or publishing truthful information
             regarding” certain judicial proceedings. Id. at 837 (emphasis
             added); see id. at 841 (“The question, however, is whether [the
             State’s] interests are sufficient to justify the encroachment on
             First Amendment guarantees * * * with respect to
             nonparticipants such as Landmark.”) (emphasis added); see
             also id. at 841 n.12.

                  Notably, every single Supreme Court case applying the
             clear-and-present-danger standard to restrictions on speech
             about judicial proceedings (1) was decided before the Supreme
             Court ruled out “clear and present danger” as a “formula” for
             courts to apply, Landmark Commc’ns, 435 U.S. at 842 (quoting
             Pennekamp, 328 U.S. at 353 (Frankfurter, J., concurring)), and
             (2) involved speech by outsiders to the litigation, see Nebraska
             Press, 427 U.S. at 568–570 (publications and broadcasting by
             the press and media); Wood, 370 U.S. at 376–379, 382, 389–
             394 (press release by county sheriff speaking in his personal
             capacity); Craig, 331 U.S. at 369, 376–377 (newspaper
             editorial and news stories); Pennekamp, 328 U.S. at 336–339,
             348–350 (newspaper editorials and cartoon); Bridges, 314 U.S.
             at 271–273 (newspaper editorials); cf. Landmark Commc’ns,
             435 U.S. at 837, 842–846.7

             7
                While the Sixth Circuit applied the clear-and-present-danger
             standard to an order restraining a criminal defendant’s speech in
             United States v. Ford, 830 F.2d 596, 598–602 (6th Cir. 1987), it did
             so before Gentile and did not acknowledge Landmark
             Communications’ direction against using the clear-and-present-
             danger standard as a formula for resolving cases.




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                 The record before the district court and its factual findings
             demonstrate that some of Mr. Trump’s speech poses a
             significant and imminent threat to the fair and orderly
             adjudication of the criminal proceeding against him.

                                            1

                  The record shows that Mr. Trump has repeatedly attacked
             those involved in this case through threatening public
             statements, as well as messaging daggered at likely witnesses
             and their testimony. For example, the day after his initial
             appearance in court, Mr. Trump issued a warning: “IF YOU
             GO AFTER ME, I’M COMING AFTER YOU!” Special
             Counsel Mot. 6.

                  The former President has gone after known and potential
             witnesses, and others closely involved in the 2020 election
             events around which the indictment and criminal trial
             center. In the days and weeks following the indictment, Mr.
             Trump publicly accused former Vice President Pence of
             “go[ing] to the Dark Side” and of “mak[ing] up stories about”
             the events of January 6, 2020 (including in a post that also
             referred to “these Fake Indictments”).8

                  Two weeks after his indictment and after “reading reports”
             that the former Georgia Lieutenant Governor Jeff Duncan
             would be testifying before a grand jury in Fulton County,
             Georgia, Mr. Trump posted that Duncan “shouldn’t [testify]”

             8
              https://perma.cc/PMD6-BUDX;        https://perma.cc/9VR2-HZGK;
             Hr’g Tr. 55:16–22.




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             and called Duncan a “fail[ure]” and a “loser” who “fought the
             TRUTH all the way.”9

                 In addition, apparently in response to news reports that
             former White House Chief of Staff Mark Meadows might be
             cooperating with prosecutors, Mr. Trump posted:

                    I don’t think Mark Meadows would lie about the Rigged
                    and Stollen 2020 Presidential Election merely for getting
                    IMMUNITY against Prosecution (PERSECUTION!) by
                    Deranged Prosecutor, Jack Smith. BUT, when you really
                    think about it, after being hounded like a dog for three
                    years, told you’ll be going to jail for the rest of your life,
                    your money and your family will be forever gone, and
                    we’re not at all interested in exposing those that did the
                    RIGGING — If you say BAD THINGS about that terrible
                    “MONSTER,” DONALD J. TRUMP, we won’t put you in
                    prison, you can keep your family and your wealth, and,
                    perhaps, if you can make up some really horrible “STUFF”
                    about him, we may very well erect a statue of you in the
                    middle of our decaying and now very violent Capital,
                    Washington, D.C. Some people would make that deal, but
                    they are weaklings and cowards, and so bad for the future
                    [of] our Failing Nation. I don’t think that Mark Meadows
                    is one of them, but who really knows? MAKE AMERICA
                    GREAT AGAIN!!!10

                  The former President has also lashed out at government
             officials closely involved in the criminal proceeding. He has

             9
                 https://perma.cc/ZK9H-8SKS.
             10
                  https://perma.cc/9DFD-A7QP.




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             repeatedly labeled the trial judge as “biased,” a “fraud[,]” and
             a “hack[,]” Special Counsel Mot. 6–7, and has called the
             prosecutors “[d]eranged[,]” “thugs[,]” and “[l]unatics[,]”
             Special Counsel Mot. 8–9; Special Counsel Reply 10. He
             likewise has posted about the Special Counsel’s wife and spoke
             publicly about her at a rally following our administrative stay
             of the Order.11 See Special Counsel Br. 14 n.4.

                  The record also shows that former President Trump’s
             words have real-world consequences. Many of those on the
             receiving end of his attacks pertaining to the 2020 election have
             been subjected to a torrent of threats and intimidation from his
             supporters. A day after Mr. Trump’s “IF YOU GO AFTER
             ME, I’M COMING AFTER YOU!” post, someone called the
             district court and said: “Hey you stupid slave n[****]r[.] * * *
             If Trump doesn’t get elected in 2024, we are coming to kill you,
             so tread lightly b[***]h. * * * You will be targeted personally,
             publicly, your family, all of it.” Special Counsel Br. 5; see
             United States v. Shry, No. 4:23-cr-413, ECF 1 at 3 (Criminal
             Complaint) (S.D. Tex. Aug. 11, 2023). The Special Counsel
             also has advised that he has received threats, and that a
             prosecutor in the Special Counsel’s office whom Mr. Trump
             has singled out for criticism has been “subject to intimidating
             communications.” Special Counsel Mot. 12.

                  The former President has repeatedly attacked both the
             presiding judge and his law clerk in a New York state-law
             lawsuit. Since those attacks, the judge’s chambers have been
             “inundated with hundreds of harassing and threatening phone
             calls, voicemails, emails, letters, and packages.” New York v.
             Trump, No. 452564/2022, NYSCEF No. 1631 at 2 (N.Y. Sup.

             11
                  https://perma.cc/F769-Z49A.




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             Ct. Nov. 3, 2023). In addition to threatening death or serious
             harm, callers have labeled the judge and clerk “Nazi[s],” “dirty
             Jews,” and child molesters. See Trump v. Engoron, No. 2023-
             05859, NYSCEF No. 9, Ex. E at 3–5 (N.Y. App. Div. Nov. 22,
             2023).

                  Election officials involved in the 2020 election were
             subjected to similar attacks. One election official explained:
             “After the [then-]President tweeted at me by name, calling me
             out the way that he did, the threats became much more specific,
             much more graphic, and included not just me by name but
             included members of my family by name, their ages, our
             address, pictures of our home. Just every bit of detail that you
             could imagine. That was what changed with that tweet.”
             Special Counsel Mot. 3. Another state official explained that
             he avoided

                       . Special Counsel Mot. 3               . And a local
             election official had to                  after then-President
             Trump criticized his office and a supporter posted his address
             online. Special Counsel Mot. 3                     .

                  Likewise, after former President Trump publicly
             condemned and then fired a federal official for making
             statements reassuring the public about the 2020 election’s
             security, one of Mr. Trump’s campaign’s lawyers publicly
             stated that the official “should be drawn and quartered. Taken
             out at dawn and shot.” Special Counsel Mot. 4. After receiving
             death threats, the official and his family had to evacuate their
             home. Id.

                Others too have had their lives turned upside down after
             coming within Mr. Trump’s verbal sights. For example, a




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             temporary Georgia election worker testified before Congress
             that she and her daughter endured “horrible, racist threats” after
             then-President Trump falsely accused them of election
             misconduct. Special Counsel Mot. 4–5; Select Committee Tr.
             7:22–8:3, 26:24–27:2 (May 31, 2022). She testified that she
             “had to move out of [her] house because the FBI said it wasn’t
             safe.” Select Committee Tr. 8:1. People would send messages
             “say[ing] things like, ‘We know where you live, and we’re
             coming to get you, n[****]r.’” Select Committee Tr. 27:4–12.
             Some would show up at her home to confront her, and one
             person even tried to force her way into the election worker’s
             mother’s home to effectuate a citizen’s arrest of the election
             worker. Select Committee Tr. 28:2–29:12. The election
             worker explained: “Do you know how it feels to have the
             President of the United States to target you? * * * [W]hen
             someone as powerful as the President of the United States eggs
             on a mob, that mob will come.” Special Counsel Mot. 4.

                  Mr. Trump himself recognizes the power of his words and
             their effect on his audience, agreeing that his supporters “listen
             to [him] like no one else.” Transcript of CNN’s Town Hall
             with Former President Donald Trump, CNN (May 11, 2023).12

                  Based on that record, the district court made a factual
             finding that, “when Defendant has publicly attacked
             individuals, including on matters related to this case, those
             individuals are consequently threatened and harassed.” Order
             at 2. Mr. Trump has not shown that factual finding to be clearly
             erroneous, and we hold that the record amply supports it.




             12
                  https://perma.cc/HC5Y-3XLT.




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                 Mr. Trump’s documented pattern of speech and its
             demonstrated real-time, real-world consequences pose a
             significant and imminent threat to the functioning of the
             criminal trial process in this case in two respects.

                  First, Mr. Trump’s messages about known or reasonably
             foreseeable witnesses that concern their potential participation
             in the criminal proceeding pose a significant and imminent
             threat to individuals’ willingness to participate fully and
             candidly in the process, to the content of their testimony and
             evidence, and to the trial’s essential truth-finding function.

                  The law has long recognized the importance of shielding
             witnesses from external influences that undermine the integrity
             of the trial process. In Sheppard, the Supreme Court
             underscored the trial court’s obligation to “insulate[] the
             witnesses” from external communications that could affect
             their testimony. 384 U.S. at 359. Similarly, in Estes v. Texas,
             381 U.S. 532 (1965), the Supreme Court overturned a criminal
             conviction because broadcasting of the trial proceedings had
             created a risk that “[t]he quality of the testimony” would “be
             impaired” or that “witnesses [would be] reluctant to appear.”
             Id. at 547. Courts also have authority to exclude witnesses
             from the courtroom, instruct them not to discuss their testimony
             with others, and even sequester them pending their
             testimony—all to protect them and the evidence they offer
             from external influences. See Geders, 425 U.S. at 87
             (approving courts’ power to sequester witnesses so as to
             “prevent[] improper attempts to influence the testimony in light
             of the testimony already given”); Perry v. Leeke, 488 U.S. 272,
             281 (1989) (discussing the “common practice” of “instruct[ing]




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             a witness not to discuss his or her testimony with third parties
             until the trial is completed” in order to “lessen the danger that
             their testimony will be influenced” by others); FED. R. EVID.
             615(a) (“At a party’s request, the court must order witnesses
             excluded from the courtroom so that they cannot hear other
             witnesses’ testimony. Or the court may do so on its own.”)
             (emphasis added).

                  The concern with defendants’ influences on witnesses is
             so significant that Congress has expressly authorized courts to
             prevent defendants from communicating with witnesses. See
             18 U.S.C. § 3142(c)(1)(B)(v); see generally Nixon, 418 U.S. at
             709 (“[T]he public * * * has a right to every man’s
             evidence[.]”) (quoting United States v. Bryan, 339 U.S. 323,
             331 (1949)). That restraint is so commonplace that Mr. Trump
             does not dispute the court’s authority to have ordered him, as a
             condition of pretrial release, not to communicate with
             witnesses except in the presence of counsel. See Oral Arg. Tr.
             31:13–32:11.

                  There is no question that Mr. Trump could not have said
             directly to Mark Meadows, former Vice President Pence, or
             former Georgia Lieutenant Governor Duncan any of the
             statements he posted on social media about their potential
             discussions with the Special Counsel or grand-jury testimony,
             and the consequences that would follow. Yet the district
             court’s prohibition on Mr. Trump’s direct communications
             with known witnesses would mean little if he can evade it by
             making the same statements to a crowd, knowing or expecting
             that a witness will get the message. Cf. Sheppard, 384 U.S. at
             359 (restrictions on witnesses observing other witnesses’
             testimony mean nothing if “the full verbatim testimony [is]
             available to them in the press”); Estes, 381 U.S. at 547.




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                  Mr. Trump’s counsel conceded at oral argument that the
             former President speaking about the case “with a megaphone,
             knowing that [a] witness is in the audience” would likely
             present the “same scenario” as Mr. Trump’s calling that
             witness directly, in violation of his conditions of release. Oral
             Arg. Tr. 33:12–17. So too if the defendant posts a message on
             “social media knowing that [witness] is a social media follower
             of his,” id. 33:20–23, or that the message will otherwise likely
             reach the witness. In each of these scenarios, the defendant’s
             speech about witness testimony or cooperation imperils the
             availability, content, and integrity of witness testimony.

                 Accordingly, the district court had the authority to prevent
             Mr. Trump from laundering communications concerning
             witnesses and addressing their potential trial participation
             through social media postings or other public comments.

                  In addition, common sense and “common human
             experience,” Nebraska Press, 427 U.S. at 563, teach that
             hostile messages regarding evidentiary cooperation that are
             publicly relayed to high-profile witnesses have a significant
             likelihood of deterring, chilling, or altering the involvement of
             other witnesses in the case as well. The undertow generated by
             such statements does not stop with the named individual. It is
             also highly likely to influence other witnesses. Even witnesses
             not yet publicly identified, who lack the special capacity or
             resources to protect themselves or their families against the risk
             of ensuing threats or harm, will be put in fear that, if they come
             forward, they may well be the next target.

                  It is the court’s duty and authority to prevent speech by
             trial participants, including the defendant, when the record
             shows that their words have an “extraordinary power to




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             undermine or destroy the efficacy of the criminal justice
             system.” Gentile, 501 U.S. at 1075 (quotation marks omitted);
             see Sheppard, 384 U.S. at 363. This is such a case.

                  Second, certain speech about counsel and staff working on
             the case poses a significant and imminent risk of impeding the
             adjudication of this case. Courts have a “legitimate interest in
             protecting [the] judicial system from [outside] pressures,”
             including protecting court officers from “conscious[] or
             unconscious[ outside] influence[.]” See Cox, 379 U.S. at 562,
             565. Messages designed to generate alarm and dread, and to
             trigger extraordinary safety precautions, will necessarily hinder
             the trial process and slow the administration of justice. For
             example, trial personnel and participants will be distracted or
             delayed by objectively reasonable concerns about their safety
             and that of their family members, as well as by having to devote
             time and resources to adopting safety measures or working
             with investigators.

                  Given the record in this case, the court had a duty to act
             proactively to prevent the creation of an atmosphere of fear or
             intimidation aimed at preventing trial participants and staff
             from performing their functions within the trial process. Just
             as a court is duty-bound to prevent a trial from devolving into
             a carnival, see Sheppard, 384 U.S. at 357–358, so too can it
             prevent trial participants and staff from having to operate under
             siege.

                                            3

                 Mr. Trump raises three objections to any regulation of his
             speech at all. None holds up.




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                  First, Mr. Trump argues that actual harm or obstruction to
             witnesses or the judicial process and its participants must
             already have occurred before his speech can be regulated.
             Trump Br. 22; Trump Reply Br. 3. The Supreme Court has
             said otherwise. Both Nebraska Press (which Mr. Trump
             embraces) and Sheppard commanded trial courts that they
             “must” prevent such harms at their “inception,” before they are
             realized and dysfunction envelops the trial. Nebraska Press,
             427 U.S. at 553–554; Sheppard, 384 U.S. at 362–363.

                  That makes sense. No one is entitled to one free bite at
             derailing witness testimony or impeding the trial court’s ability
             to function. A rule that courts are helpless to act until witnesses
             have been intimidated, violence has been attempted, or a trial
             participant has been materially hindered from doing her job
             would “gravely impair the basic function of the courts” in the
             “fair administration of criminal justice.” Nixon, 418 U.S. at
             712–713.

                  Nor are the court’s hands tied until evidence of direct
             causation materializes. Such proof would be hard to come by,
             and requiring a court to conduct a mini-trial on that inquiry
             while readying a high-profile case for trial would itself divert
             and delay the criminal justice process. That presumably is why
             the Supreme Court recognized in Nebraska Press that the trial
             court’s assessment of the threat to the court’s functioning must
             be “of necessity speculative, dealing * * * with factors
             unknown and unknowable[,]” and may appropriately be
             grounded both in record facts and “common human
             experience.” 427 U.S. at 563.

                 Second, Mr. Trump objects that holding him responsible
             for his listeners’ responses to his speech unconstitutionally




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             imposes a “classic heckler’s veto,” “regardless of how
             predictable * * * [Mr. Trump’s supporters’] unruly reactions
             might be.” Trump Br. 37–38; see Trump Br. 36–39. Not so.

                 To start, that argument ignores the significant risk of harm
             caused by Mr. Trump’s own messaging to known or potential
             witnesses about their participation in the criminal justice
             process and his menacing comments about trial participants
             and staff.

                  The claim also misunderstands the heckler’s veto doctrine.
             That doctrine prohibits restraining speech on the grounds that
             it “might offend a hostile mob” hearing the message, Forsyth
             County v. Nationalist Movement, 505 U.S. 123, 134–135
             (1992) (emphasis added), or because its audience might
             express “hostility to” the message, Cox, 379 U.S. at 551. The
             harm the district court identified here was not that some
             members of the public who oppose Mr. Trump’s message
             might react violently and try to shut down his speech. Cf.
             National Socialist Party of America v. Village of Skokie, 432
             U.S. 43, 43–44 (1977). The concern was instead “how
             predictable” it has become, Trump Br. 38, that some (but
             certainly not all, or even many) of Mr. Trump’s followers will
             act minaciously in response to his words.

                  Of course, the First Amendment generally does not allow
             speech to be restricted because of some enthusiastic audience
             members’ reactions. Outside of a judicial proceeding,
             ordinarily only speech that rises to the level of incitement of
             the audience can be banned. See Brandenburg v. Ohio, 395
             U.S. 444, 448–449 (1969) (striking down law that failed to
             distinguish “mere advocacy” from “incitement to imminent
             lawless action”).




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                  But within a judicial proceeding, a trial court’s duty to
             protect the functioning of the criminal trial process is not
             cabined by the incitement doctrine. Sheppard holds that courts
             may, and sometimes must, limit the speech of trial participants
             to prevent the prejudice to the trial process caused by third
             parties. Sheppard involved a criminal trial beset by suffocating
             press coverage and publicity. 384 U.S. at 358. The press
             regularly reported on evidence leaked to them by both sides,
             even though such evidence was never offered into evidence in
             court. Id. at 360–361. The Supreme Court held that, as a means
             of addressing and averting harm to the criminal justice process,
             the trial court should have “proscribed extrajudicial statements
             by any lawyer, party, witness, or court official which divulged
             prejudicial matters[.]” Id. at 361. Had the trial court done so,
             “the news media would have soon learned to be content with
             the task of reporting the case as it unfolded in the courtroom—
             not pieced together from extrajudicial statements.” Id. at 362.

                  In other words, the Supreme Court explained that a
             protective order restricting trial participants’ speech should
             have been entered in Sheppard not only because the parties’
             expression was itself obstructive, but even more so because
             outsiders’ reactions and responses to that speech also
             threatened the integrity of the trial process. At no point in
             Sheppard did the Supreme Court even hint that evidence
             demonstrating that the parties were already inciting interfering
             press coverage would have been needed before the court could
             act.

                  So too here. Many of former President Trump’s public
             statements attacking witnesses, trial participants, and court
             staff pose a danger to the integrity of these criminal
             proceedings. That danger is magnified by the predictable




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             torrent of threats of retribution and violence that the district
             court found follows when Mr. Trump speaks out forcefully
             against individuals in connection with this case and the 2020
             election aftermath on which the indictment focuses. The
             district court appropriately found that those threats and
             harassment undermine the integrity of this criminal proceeding
             by communicating directly or indirectly with witnesses and
             potential witnesses about their testimony, evidence, and
             cooperation in the justice process. They also impede the
             administration of justice by exposing counsel and members of
             the court’s and counsel’s staffs to fear and intimidating
             pressure. The First Amendment does not afford trial
             participants, including defendants, free rein to use their
             knowledge or position within the trial as a tool for encumbering
             the judicial process.13

                  Third, Mr. Trump asserts that, because he is running for
             office, the trial is at issue in the campaign, meaning his
             comments about the trial are political speech that cannot be
             regulated without the strictest showing of necessity. Proactive
             concerns about harm to the trial process, in his view, do not
             suffice. See Trump Br. 31–34.14


             13
                Should Mr. Trump have reasonable concerns about the impartiality
             or actions of court or prosecutorial staff, and their effect on the
             integrity of the trial process, the better course is for his counsel to
             voice those concerns in a motion filed with the court, where that
             filing will be a matter of public record.
             14
                At oral argument, Mr. Trump stated that his position would be the
             same even if there were no political campaign underway, as he would
             still be engaged in political speech. Oral Arg. Tr. 5:14–6:20. Given
             that position, we focus on the protection of political speech generally.




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                 The First Amendment unquestionably affords political
             speech robust protection, and courts undoubtedly must tread
             carefully when regulating such communications. See McIntyre
             v. Ohio Elec. Comm’n, 514 U.S. 334, 347 (1995) (“No form of
             speech is entitled to greater constitutional protection” than
             “[c]ore political speech.”).

                  But there is another fundamental constitutional interest at
             stake here. The existence of a political campaign or political
             speech does not alter the court’s historical commitment or
             obligation to ensure the fair administration of justice in
             criminal cases. A trial participant’s engagement in political
             speech cannot degrade or diminish that essential judicial
             function. Mr. Trump acknowledges as much by accepting his
             pretrial release condition that he cannot speak to witnesses in
             the case about political matters or otherwise. He cannot evade
             that legitimate limitation by dressing up messages to witnesses
             in political-speech garb.

                  For the reasons outlined above, this record establishes the
             imminence and magnitude, as well as the high likelihood, of
             harm to the court’s core duty to ensure the fair and orderly
             conduct of a criminal trial and its truth-finding function. That
             significant and imminent threat to the core functioning of the
             judicial branch reflected in this record constitutes a compelling
             interest. See Nixon, 418 U.S. at 712–713; In re Murphy-Brown,
             907 F.3d 788, 797 (4th Cir. 2018) (“Ensuring fair trial rights is
             a compelling interest * * * when there is a ‘reasonable
             likelihood’ that a party would be denied a fair trial without the
             order under challenge.”) (quoting In re Russell, 726 F.2d 1007,
             1010 (4th Cir. 1984)); see also Williams-Yulee v. Florida Bar,
             575 U.S. 433, 446 (2015) (“[P]ublic perception of judicial
             integrity is ‘a state interest of the highest order.’”) (quoting




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             Caperton v. A.T. Massey Coal Co., Inc., 556 U.S. 868, 889
             (2009)). On the record before us, that compelling interest
             establishes a sufficient predicate for the district court to have
             imposed some limitation on trial participants’ speech. The
             constitutional solicitude for political speech remains, though,
             and requires that less restrictive alternatives not be viable and
             that the scope of the order be narrowly tailored.

                                             C

                   No less-speech-restrictive alternative could viably protect
             against the imminent threat to the participation of witnesses,
             trial participants, and staff in this criminal matter, or the full,
             fair, and unobstructed receipt of relevant evidence. See
             Nebraska Press, 427 U.S. at 563–565 (discussing “measures
             short of an order restraining” speech); Gentile, 501 U.S. at
             1075 (same).

                  We note that the district court tried a less restrictive
             approach first. Shortly after the indictment, she cautioned the
             parties and counsel against speech that would prejudice the trial
             process and sought their voluntary compliance. Hr’g Tr. 72:7–
             17, ECF 29 (Aug. 11, 2023) “[E]ven arguably ambiguous
             statements from parties or their counsel, if they could
             reasonably be interpreted to intimidate witnesses or to
             prejudice potential jurors, can threaten the process. * * * I
             caution all of you and your client, therefore, to take special care
             in your public statements about this case.” Id. That warning
             was not heeded, necessitating a more direct measure.

                 Self-regulation is just one possible alternative for a court
             to consider before restraining speech. Nebraska Press
             identified four others:      questioning prospective jurors,




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             instructing seated jurors to ignore extrajudicial statements,
             moving the trial to a different location, and postponing the trial.
             427 U.S. at 563–564. We agree with the district court that none
             was a viable option to respond to the nature and character of
             the harm posed in this case.

                  The district court carefully considered whether
             questioning prospective jurors during voir dire or instructing
             seated jurors to disregard information would suffice. The court
             found that those measures would redress any taint from Mr.
             Trump’s repeated criticisms of the District of Columbia and its
             residents. See, e.g., Special Counsel Mot. 8 (Mr. Trump calling
             the District of Columbia a “FILTHY AND CRIME RIDDEN
             EMBARRASSMENT TO OUR NATION”). For that reason,
             the court rejected the Special Counsel’s request that the district
             court restrict speech “regarding the District of Columbia or its
             jury pool.” Hr’g Tr. 83:2; see Hr’g Tr. 82:25–83:4 (“I am
             confident that the voir dire process and cautionary jury
             instructions can filter out those statements’ influence on the
             jury.”).

                  Those measures, however, would do nothing to prevent or
             redress the harm to witnesses’ participation or to staff
             beleaguered by threats or harassment. If a witness’s testimony
             were to change, or if a reluctant potential witness were to
             decide not to come forward because of the former President’s
             public statements, no amount of questioning or instructing
             jurors could undo that harm. Likewise, if court and prosecution
             staff are diverted from their work by the need to take extra
             safety precautions to protect themselves and their families, or
             are distracted by the burdens of constant vigilance, none of the
             proposed measures regarding the jury would mitigate that
             interference.




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                  Moving the trial to a different location would also be
             ineffective. Mr. Trump’s rhetoric has national reach. See
             Special Counsel Mot. Reply 9 (noting that Mr. Trump has more
             than 6 million followers on the platform Truth Social).15 A
             change of scene would not ameliorate the reasons for a
             witness’s reluctance. And the staffs of court and the respective
             litigation teams would be equally subject to interference,
             regardless of locale.

                 Delaying the trial date until after the election, as Mr.
             Trump proposes, would be counterproductive, create perverse
             incentives, and unreasonably burden the judicial process.
             Allowing prejudicial statements to go unchecked for an even
             longer pre-trial period would simply compound the problem.
             Delay would not bring back witnesses who have been stifled
             by Mr. Trump’s commentary and the reactions of those whom
             he says “listen to [him] like no one else.” See Transcript of
             CNN’s Town Hall with Former President Donald Trump, CNN
             (May 11, 2023).16 In addition, postponing trial would
             incentivize criminal defendants to engage in harmful speech as
             a means of delaying their prosecution. Mr. Trump has
             repeatedly asked to push back the trial date in this case for two
             additional years, and the district court has considered and
             denied those requests. See, e.g., Def. Resp. Opp. Special
             Counsel’s Proposed Trial Calendar 1–3, ECF 30 (Aug. 17,
             2023) (proposing April 2026 trial date); Pretrial Order ¶ 1, ECF
             39 (Aug. 28, 2023) (setting March 4, 2024 trial date); see also
             Order at 3–4, ECF 82 (Oct. 6, 2023) (denying in part Mr.
             Trump’s request for a 60-day deadline extension); Order at 1–

             15
                  https://perma.cc/K3UM-SS92 (displaying 6.51 million followers).
             16
                  https://perma.cc/HC5Y-3XLT.




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             3, ECF 146 (Nov. 7, 2023) (denying in part Mr. Trump’s
             request for a three-month deadline extension). A criminal
             defendant cannot use significantly and imminently harmful
             speech to override the district court’s control and management
             of the trial schedule. Delays also “entail serious costs to the
             [judicial] system,” Gentile, 501 U.S. at 1075, and frustrate the
             public’s interest in the swift resolution of criminal charges.

                 Mr. Trump suggests that, as an alternative, the court
             should follow the district court’s lead in United States v.
             Brown, 218 F.3d 415 (5th Cir. 2000), and suspend the Order in
             the months leading up to the election. See Trump Br. 32;
             Trump Reply Br. 1, 16; Oral Arg. Tr. 23:25–24:3; 26:9–19.
             That proposal is not remotely viable.

                  In Brown, the court of appeals held that a criminal
             defendant’s speech could be restrained pending trial even
             though the defendant was simultaneously running for
             Louisiana Insurance Commissioner. 218 F.3d at 418–419,
             428–432. The district court later chose to suspend its order for
             the roughly seven weeks leading up to the general election to
             facilitate Brown’s campaigning. Id. at 419. But no good deed
             goes unpunished. Soon after the order was lifted, some of the
             defendants released to the media telephone recordings relevant
             to the case and conducted interviews about the recordings. Id.
             That forced the district court to partially reimpose the gag
             order. Id. At no point did the court of appeals address the
             necessity of the district court’s decision to temporarily lift its
             speech order.

                  In this case, the general election is almost a year away, and
             will long postdate the trial in this case. See Pretrial Order ¶ 1
             (Aug. 28, 2023), ECF 39. The district court also cannot




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             feasibly suspend the Order for the weeks leading up to each of
             the upcoming primary elections because contests for the
             Republican nomination continue every month in 2024 from
             January through June. See FED. ELECTIONS COMM’N, 2024
             PRELIMINARY PRESIDENTIAL AND CONGRESSIONAL PRIMARY
             DATES (2023).17 Suspending the Order for the leadup to each
             of those primary elections would be the equivalent of no Order
             at all. And no Order at all is not a less restrictive alternative.

                                                V

                                                A

                 While the district court had the authority to issue an order
             restraining trial participants’ speech, and no less restrictive
             alternative would suffice, the Order is not narrowly tailored to
             maximize the amount of protected speech allowed while still
             averting the “substantive evil of unfair administration of
             justice[.]” Landmark Commc’ns, 435 U.S. at 844 (quoting
             Bridges, 314 U.S. at 271); see Gentile, 501 U.S. at 1076.

                 In so holding, we fully credit the district court’s care and
             efforts while handling this complex case to bring the Order
             within First Amendment bounds. See, e.g., Hr’g Tr. 84:18–22
             (stating that “Mr. Trump may still vigorously seek public
             support as a presidential candidate, debate policies and people
             related to that candidacy, criticize the current administration,
             and assert his belief that this prosecution is politically
             motivated”); Dist. Ct. Stay Order at 5 (explaining that the Order
             covers only those “kinds of ‘targeting’ statements that could
             result in ‘significant and immediate’ risks’ to ‘the integrity of

             17
                  https://perma.cc/P5HK-7LAG.




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             these proceedings’”) (quoting Order at 2). But in our view, the
             Constitution requires some narrowing of the Order’s reach.

                By way of reminder, the Order provides:

                All interested parties in this matter, including the parties
                and their counsel, are prohibited from making any public
                statements, or directing others to make any public
                statements, that target (1) the Special Counsel prosecuting
                this case or his staff; (2) defense counsel or their staff; (3)
                any of this court’s staff or other supporting personnel; or
                (4) any reasonably foreseeable witness or the substance of
                their testimony.

             Order at 3. The Order then adds that it “shall not be construed”
             to prohibit Mr. Trump from making statements that (1)
             “criticiz[e] the government generally, including the current
             administration or the Department of Justice”; (2) “assert[] that
             Defendant is innocent of the charges against him, or that his
             prosecution is politically motivated”; or (3) “criticiz[e] the
             campaign platforms or policies of Defendant’s * * * political
             rivals, such as former Vice President Pence.” Order at 3.

                                            1

                 The district court’s ban on speech that “targets” witnesses
             and trial personnel reaches too far. The ordinary meaning of
             statements that “target” a person is statements aimed at or
             directed toward a person or entity. See, e.g., OXFORD ENGLISH
             DICTIONARY (2d ed. 1989) (def. 5) (“[t]o aim * * * at a target”);
             WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY 2341
             (1993) (defs. 1a, 4) (“to make a target of” or “to direct toward
             a target”).




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                 By broadly proscribing any statements about or directed to
             the Special Counsel and the court’s and counsel’s staffs, as well
             as reasonably foreseeable witnesses or their testimony, the
             Order sweeps too broadly. It captures some constitutionally
             protected speech that lacks the features or content that would
             trench upon the court’s proper functioning or ability to
             administer justice. Under the Order, Mr. Trump could not, for
             example, say that a former government official and potential
             witness is a “liar,” or that the Special Counsel is a “Trump
             hater.” See Oral Arg. Tr. 114:25–116:22 (Special Counsel
             arguing that the Order as drafted permits Mr. Trump to call
             another’s statements untrue, but not to call the speaker a “liar”).
             Nor could Mr. Trump express his opinion that the staff, in
             general, at the courthouse has been “terrific” and “helpful,” or,
             conversely, “hard to work with.”

                 Mr. Trump, it bears noting, is simultaneously a criminal
             defendant and a political candidate for the Republican
             presidential nomination.      Under the court’s Order, his
             opponents could without restriction wield the indictment and
             evidence in the case to demonstrate his unfitness for office. Yet
             the Order would allow Mr. Trump to respond only by
             “asserting that [he] is innocent of the charges,” and then
             changing the subject to his rival’s “campaign platform[] or
             policies[.]” Order at 3. Permitting Mr. Trump to answer such
             political attacks with only an anodyne “I beg to differ” would
             unfairly skew the political debate while not materially
             enhancing the court’s fundamental ability to conduct the trial.

                 In addition, the indictment against Mr. Trump refers to
             statements or actions by the former Vice President, the former
             Chairman of the Joint Chiefs of Staff, “other senior national
             security advisors,” the former White House Chief of Staff,




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             other senior White House officials, and multiple United States
             Senators and Representatives.         Indictment ¶¶ 83–120.
             Certainly, some of those figures are known or reasonably
             foreseeable witnesses in the case. As Mr. Trump points out,
             some of those same individuals also have written books about
             their work in his administration and have given interviews that
             Mr. Trump views as unfavorable. Trump Resp. Opp.
             Prosecution’s Mot. for Prior Restraints 10 n.7, ECF 60 (Sept.
             25, 2023). Mr. Trump has a First Amendment interest in
             publicly debating those individuals’ commentaries in a way
             that is independent of and disassociated from any role they
             might have in the trial. See Brown, 456 U.S. at 53. Yet the
             Order would proscribe such speech because it would speak
             about someone who is a reasonably foreseeable witness, even
             if Mr. Trump’s speech would have nothing to do with their
             witness role or the possible content of any testimony.

                 The interest in protecting witnesses from intimidation and
             harassment is doubtless compelling, but a broad prohibition on
             speech that is disconnected from an individual’s witness role is
             not necessary to protect that interest, at least on the current
             record. Indeed, public exchanges of views with a reasonably
             foreseeable witness about the contents of his forthcoming book
             are unlikely to intimidate that witness or other potential
             witnesses weighing whether to come forward or to testify
             truthfully.

                 In so holding, we underscore a critical consideration: The
             only rationale invoked by the district court for its Order as to
             witnesses is their willingness to come forward and to provide
             evidence truthfully. Order at 2. Yet commonly, one of the
             most powerful interests supporting broad prohibitions on trial
             participants’ speech is to avoid contamination of the jury pool,




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             to protect the impartiality of the jury once selected, to confine
             the evidentiary record before the jury to the courtroom, and to
             prevent intrusion on the jury’s deliberations. See Russell, 726
             F.2d at 1009–1010; United States v. Tijerina, 412 F.2d 661,
             666–667 (10th Cir. 1969); see also Sheppard, 384 U.S. at 358–
             361 (emphasizing a trial court’s responsibility “to protect the
             jury from outside influence[,]” including through regulating the
             speech of parties). Since unrestricted speech by those involved
             in a trial may prejudice actual or potential jurors in ways that
             are difficult to remedy, courts have reasonable leeway to
             regulate those participants’ speech. Gentile, 501 U.S. at 1075–
             1076; Sheppard, 384 U.S. at 362–363.

                 Here, however, the district court based the Order
             exclusively on the risks of influencing witnesses and
             intimidating or harassing other trial participants, and not on the
             need to ensure jury impartiality or to protect the jury from
             outside influence. Order at 2–3. So our holding addresses only
             the first two interests as a basis for the Order.18

                                                 2

                 Following Mr. Trump’s motion to stay the Order, the
             district court clarified that it meant its Order to cover only those
             “kinds of ‘targeting’ statements that could result in ‘significant
             and immediate risk[s]’ to ‘the integrity of these

             18
               Since the district court did not rely on the interest in protecting jury
             impartiality and independence, we do not consider whether that
             interest might support different restrictions from those we hold are
             justified to protect witnesses, counsel, and court and attorney staff.
             As a result, nothing in this opinion speaks to the district court’s
             authority to consider additional measures to protect the jury pool and
             jury should such protection prove necessary going forward.




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             proceedings[,]’” Dist. Ct. Stay Order at 5 (quoting Order at 2),
             specifying that “[t]he motion hearing and corresponding Order
             provide substantial context for and examples of” prohibited
             statements, id. at 5–6.

                 The problem is that the discussions and debates within the
             hearing transcript do not meaningfully narrow the Order’s
             overbreadth. In its order denying a stay pending appeal, the
             district court highlighted hypothetical examples offered during
             the hearing of “‘targeting’ statements that could result in
             ‘significant and immediate risk[s]’ to ‘the integrity of these
             proceedings.’” Dist. Ct. Stay Order at 5 (emphasis added)
             (quoting Order at 2); see Dist. Ct. Stay Order at 5–6. The court
             then offered two examples of former President Trump’s prior
             statements to illustrate the meaning of the word “target.” Dist.
             Ct. Stay Order at 6–7. But the only example given of a prior
             statement that would not violate the Order was:

                Does anyone notice that the Election Rigging Biden
                Administration never goes after the Riggers, but only after
                those that want to catch and expose the Rigging dogs.
                Massive information and 100% evidence will be made
                available during the Corrupt Trials started by our Political
                Opponent. We will never let 2020 happen again. Look at
                the result, OUR COUNTRY IS BEING DESTROYED.
                MAGA!!!

             Dist. Ct. Stay Order at 6.

                 But that post does not even arguably fall within the bounds
             of the Order in the first place because it does not identify,
             concern, or otherwise discuss any covered person. Without an
             example of speech about a person covered by the Order that




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             would not constitute forbidden targeting, the transcript does not
             meaningfully narrow the Order’s operative language in a way
             that accommodates both the weighty free speech interests and
             the compelling judicial interests at stake.

                 For those reasons, we hold that the Order is not sufficiently
             narrowly tailored and so can be upheld only in part, as
             explained below.

                                             B

                  Rather than prohibiting speech that “target[s]” known or
             reasonably foreseeable witnesses, the Order must focus more
             directly and narrowly on comments that speak to or are about
             those persons’ potential participation in the investigation or in
             this criminal proceeding. That allows the former President to
             continue to speak out about those same persons’ books,
             articles, editorials, interviews, or political campaigns as long as
             he does so in a manner that does not concern their roles as
             witnesses or the content of any expected testimony. For those
             witnesses who previously served or are currently serving in
             high-level government positions, narrowing language would
             also allow the former President to voice his opinions about how
             they performed their public duties, wholly separate from their
             roles as potential witnesses. Such speech about the roles of
             high-ranking public officials in the conduct of “governmental
             affairs” constitutes core political speech entitled to the
             strongest form of First Amendment protection. Mills, 384 U.S.
             at 218–219. And because such statements would not concern
             the persons’ potential participation in the investigation or in
             this criminal proceeding, the “magnitude” and “likelihood” of
             the danger posed to the proceeding is lower. See Landmark
             Commc’ns, 435 U.S. at 843.




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                  By contrast, Mr. Trump’s interest in commenting publicly
             on a potential witness’s decision to participate in the criminal
             investigation, choice to cooperate with either party, or expected
             testimony encroaches on the weighty public interest in the fair
             administration of criminal justice. “Trial by newspaper”—or,
             nowadays, social media—can pose a significant and imminent
             danger to the fair and proper functioning of the judicial process
             and its truth-finding function. Pennekamp, 328 U.S. at 359
             (Frankfurter, J., concurring). The unique megaphone a
             defendant wields, amplified by social media, ramps up the risk
             of public and press reactions and attention capable of altering
             or swaying witnesses’ participation in the trial or the content of
             their testimony. The risk is particularly significant that public
             statements about certain witnesses’ involvement in the case
             may intimidate other potential witnesses from providing
             testimony, encourage them to alter their testimony, or dissuade
             them from cooperating with investigators. In addition, a
             prohibition on speech concerning witnesses’ participation in
             this case reinforces Mr. Trump’s condition of release
             forbidding him to “communicate about the facts of this case
             with any individual known to [Mr. Trump] to be a witness,
             except through counsel or in the presence of counsel.” Order
             Setting Conditions of Release 3.

                  Importantly, an order restricting communications
             concerning individuals’ roles as witnesses in a criminal
             proceeding does not close the door to such speech. It instead
             relocates such commentary to the courtroom, where the content
             and credibility of witnesses can be challenged through the
             time-tested crucible of examination and cross-examination “in
             the calmness and solemnity of the courtroom according to legal
             procedures.” Sheppard, 384 U.S. at 350–351 (quoting Cox,
             379 U.S. at 583 (Black, J., dissenting)). After all, “[l]egal trials




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             are not like elections, to be won through the use of the meeting-
             hall, the radio, and the newspaper.” Id. at 350 (quoting
             Bridges, 314 U.S. at 271).

                  In short, requiring a nexus between Mr. Trump’s speech
             and a witness’s potential participation in the criminal
             proceeding affords “freedom of discussion * * * the widest
             range” that is “compatible with the essential requirement of the
             fair and orderly administration of justice.” Pennekamp, 328
             U.S. at 347. Given the trial court’s latitude to “adopt
             safeguards necessary and appropriate to assure that the
             administration of justice at all stages is free from outside
             control and influence,” an order that prohibits participants from
             engaging in speech concerning reasonably foreseeable
             witnesses’ potential participation in the investigation or in this
             criminal proceeding would be “narrowly drawn” toward
             protecting “the integrity of the criminal process.” Cox, 379
             U.S. at 562.19

                 When the Supreme Court has spoken of courts’ authority
             to restrict trial participants’ speech, it has framed those

             19
                Other courts have upheld speech-limiting orders that similarly
             require linkage between the communication and the person’s
             participation as a witness. See, e.g., Russell, 726 F.2d at 1008
             (sustaining order prohibiting potential witnesses from making
             statements to media “that relate[] to, concern[], or discuss[] the
             testimony such potential witnesses may give in this case, or any of
             the parties or issues such potential witness expects or reasonably
             should expect to be involved in this case”) (emphasis omitted);
             Tijerina, 412 F.2d at 663 & n.1 (upholding order prohibiting parties,
             counsel, and witnesses from publicly speaking about “the merits of
             the case, the evidence, actual or anticipated, the witnesses or the
             rulings of the Court”).




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             restrictions in the context of speech about the case in which the
             restrictions are imposed. See Sheppard, 384 U.S. at 361
             (discussing a court’s authority to “proscribe[] extrajudicial
             statements by any lawyer, party, witness, or court official
             which divulged prejudicial matters, such as the * * * the
             identity of prospective witnesses or their probable testimony;
             any belief in guilt or innocence; or like statements concerning
             the merits of the case”) (emphases added); Gentile, 501 U.S. at
             1076 (acknowledging the State’s legitimate interest in
             prohibiting attorney “speech having a substantial likelihood of
             materially prejudicing that proceeding”); id. at 1074 (reasoning
             that lawyers’ “extrajudicial statements” about the case “pose a
             threat to the fairness of a pending proceeding since lawyers’
             statements are likely to be received as especially authoritative”
             in light of lawyers’ “special access to information [about the
             case] through discovery and client communications”).

                  To be clear, narrowing the Order’s reach to statements
             concerning reasonably foreseeable witnesses’ potential
             participation in the investigation or in this criminal proceeding
             does not require that the statements facially refer to the
             person’s potential status as a witness or to expected testimony.
             Context matters. The statement that a potential witness “is a
             liar” might well concern that person’s testimony if made on the
             eve of trial or immediately following news reports that the
             person is cooperating with investigators. The same words
             might not concern that person’s status as a witness if uttered
             immediately after and in response to the release of that person’s
             book or media interview unrelated to this court proceeding.

                  Similarly, when Mr. Trump makes comments about a
             high-profile figure, context will shed critical light on whether
             that speech concerned other aspects of that person’s public life




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             or her testimonial intentions. By the same token, were Mr.
             Trump to make public statements about a poll worker whose
             name he would not know but for that worker’s anticipated
             participation in this case, determining that the statements
             concerned that person in their capacity as a potential witness
             will be more straightforward. This would be true whether or
             not the statements on their face mention the witness’s
             anticipated testimony.

                  Two posts help illustrate the requisite nexus between Mr.
             Trump’s statements and a foreseeable witness’s potential
             participation in the criminal proceeding. Shortly after former
             Attorney General William Barr gave a televised interview, Mr.
             Trump posted a video on his social media account in which he
             said: “Why does Fox News constantly put on slow-thinking
             and lethargic Bill Barr, who didn’t have the courage or stamina
             to fight the radical left lunatics while he was the Attorney
             General of the United States, and who even more importantly
             refused to fight election fraud, of which there was much?”
             Special Counsel Mot. 11 n.20. That statement’s criticisms of
             Barr’s actions in the aftermath of the 2020 election do not
             concern any role he may have as a witness in this criminal
             proceeding.

                 On the other hand, hours after news broke asserting that
             former Chief of Staff Mark Meadows was cooperating with the
             Special Counsel, Mr. Trump asked on social media whether
             Meadows was the type of “weakling[] and coward[]” who
             would “make up some really horrible ‘STUFF’” about Mr.
             Trump in exchange for “IMMUNITY against Prosecution
             (PERSECUTION!) by Deranged Prosecutor, Jack Smith.”
             Special Counsel Mot. Reply 9. That statement, considering
             both its timing and its content, concerns Meadows’s potential




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             cooperation with the prosecution and his potential testimony
             against Mr. Trump and so is properly proscribed.

                  There no doubt will be some close cases in which it will
             be difficult to determine whether a statement concerns a
             foreseeable witness’s potential participation in the
             investigation or in this criminal proceeding. But resolving such
             factual disputes falls well within the district court’s
             wheelhouse.

                  Mr. Trump argues that the Order’s reference to
             “reasonably foreseeable witnesses” and to the substance of
             their potential testimony is unconstitutionally vague. Trump
             Br. 53–54. That is incorrect.

                  A legal rule is not unconstitutionally vague so long as it
             gives “sufficient warning” that persons can conform their
             conduct to the law and “avoid that which is forbidden.” United
             States v. Bronstein, 849 F.3d 1101, 1106–1107 (D.C. Cir.
             2017) (quoting Rose v. Locke, 423 U.S. 48, 50 (1975)). The
             indictment paints a reasonably clear picture of the primary
             participants in this case, Indictment ¶¶ 83–120, and ongoing
             discovery will provide further clarity, see United States v.
             Morrison, 98 F.3d 619, 630 (D.C. Cir. 1996) (holding that a
             witness was “foreseeable” to the defendant because the
             defendant had prior dealings with the witness related to the
             case); cf. Ward v. Rock Against Racism, 491 U.S. 781, 794
             (1989) (“[P]erfect clarity and precise guidance have never been
             required even of regulations that restrict expressive activity.”);
             Grayned v. City of Rockford, 408 U.S. 104, 110 (1972)
             (“Condemned to the use of words, we can never expect
             mathematical certainty from our language.”).




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                  In short, the Order’s effort to protect witnesses is
             permissible as modified to prohibit only those statements that
             concern reasonably foreseeable witnesses’ potential
             participation in the investigation or in this criminal proceeding.
             Whether a statement about a reasonably foreseeable witness
             concerns her potential participation in the investigation or in
             this criminal proceeding must be determined by reference to
             the statement’s full context.

                                             C

                 As for the protection of counsel and staff working on the
             case, the Order requires some recalibration to sufficiently
             accommodate free speech.

                   We start by noting the obvious. This criminal proceeding
             places significant demands on all counsel, the defendant, and
             court and counsel staff. The case, which is the object of
             enormous public and press attention, is just a few months from
             trial and involves 47,000 pages of key documents and hundreds
             of potentially relevant witnesses. Pretrial briefing alone has
             been voluminous, with four separate motions to dismiss the
             indictment on various grounds, in addition to ten other
             substantive motions.

                  Some statements concerning counsel or staff working on
             this case, or their family members, are highly likely to trigger
             a barrage of threats, intimidation, or harassment that pose an
             imminent risk of materially interfering with the work of
             counsel and court personnel as they labor to fairly and orderly
             adjudicate this complex criminal proceeding. In view of the
             demands on counsel and court personnel, and the “significant
             and immediate risk that * * * attorneys, public servants, and




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             other court staff will themselves become targets for threats and
             harassment[,]” Order at 2, the district court had the authority to
             take some steps to prevent obstruction of the court’s capacity
             to manage and conduct this case in an effective, efficient, and
             timely manner, see Sheppard, 384 U.S. at 363.

                  At the same time, speech about the criminal justice system
             is vital. The courts are the people’s Third Branch of
             government and, especially in criminal cases, “play a vital part
             in a democratic state[.]” Gentile, 501 U.S. at 1035. As a result,
             the public has a strong and “legitimate interest in their
             operations.” Id. That interest is magnified in criminal cases,
             where public scrutiny promotes transparency, accountability,
             and integrity. “[I]t would be difficult to single out any aspect
             of government of higher concern and importance to the people
             than the manner in which criminal trials are conducted.”
             Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 575
             (1980). Allowing robust speech can “guard[] against the
             miscarriage of justice by subjecting the police, prosecutors, and
             judicial processes to extensive public scrutiny and criticism.”
             Sheppard, 384 U.S. at 350.

                  As written, the Order prohibits interested parties from
             making or directing others to make any public statements that
             target—that are directed to or aimed at—prosecutors or court
             staff. Order at 3. That goes too far. Prosecutors are vested
             with immense authority and discretion, including the power to
             take steps that can result in persons’ loss of liberty. The public
             has a weighty interest in ensuring that such power is exercised
             responsibly.     And criminal defendants facing potential
             curtailments of liberty have especially strong interests in
             commenting, within reasonable bounds, on prosecutors’ use of
             their power.




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                  Likewise, the courts and the judges who sit on them enjoy
             “no greater immunity from criticism than other persons or
             institutions.” Landmark Commc’ns, 435 U.S. at 839 (quoting
             Bridges, 314 U.S. at 289 (Frankfurter, J., dissenting)). The
             district judge in this case plays a centrally important role in
             adjudicating this case and guiding it through trial. Those
             reasons, presumably, are why the district court commendably
             did not include in the Order speech directed at the judge herself
             or the court as an institution.

                  For similar reasons, the Order should not have restricted
             speech about the Special Counsel himself. The Order already
             exempts speech about the Department of Justice as an
             institution. See Order at 3. As conceded at oral argument, “the
             Special Counsel himself is * * * both an individual trial
             participant and a representative of the institution”—that is, the
             Department of Justice’s Office of Special Counsel. Oral Arg.
             Tr. 99:6–8; see Special Counsel Jack Smith Announces a New
             Trump Indictment, C-SPAN (Aug. 1, 2023) (Special Counsel’s
             public announcement of the indictment in this case).20 As a
             high-ranking government official who exercises ultimate
             control over the conduct of this prosecution, the Special
             Counsel is no more entitled to protection from lawful public
             criticism than is the institution he represents. See Landmark
             Commc’ns, 435 U.S. at 839 (quoting Bridges, 314 U.S. at 289
             (Frankfurter, J., dissenting)).

                 As for other counsel in this case and the court’s and
             counsel’s staffs, we hold that adding a mens rea requirement
             20
                https://www.c-span.org/video/?529681-1/special-counsel-jack-sm
             ith-announces-trump-indictment; https://www.c-span.org/video/?52
             8657-1/special-counsel-jack-smith-statement-indictment-donald-tru
             mp.




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             will appropriately balance the court’s institutional interests and
             the free speech values at stake. As a general rule, state-of-mind
             requirements “lessen[] the hazard of self-censorship” and
             “provide[] breathing room” for speech. Counterman, 600 U.S.
             at 75 (formatting modified). In this case, the requirement
             affords “strategic protection” to Mr. Trump’s speech by
             guarding against the prospect of chilling speech that poses an
             immaterial risk to the criminal proceedings. Id. (quotation
             marks omitted).21

                  At the same time, state-of-mind requirements allow
             vindication of the compelling judicial interest in ensuring that
             speech by trial participants does not obstruct or delay the
             criminal proceeding. Here, the district court found, and the
             record demonstrates, that there is a “significant and immediate
             risk that * * * attorneys, public servants, and other court staff
             will themselves become targets for threats and harassment”
             because of Mr. Trump’s speech. Order at 2. Threats of
             physical harm, stalking, or doxing almost inevitably will slow
             or temporarily halt work on the criminal proceeding as

             21
                No mens rea is needed with respect to the portion of the Order
             dealing with speech about witnesses. As explained above, any
             speech by trial participants concerning witnesses’ participation in the
             case, regardless of motive or mindset, threatens to discourage or
             influence witness testimony—testimony that the court has an
             obligation to keep free of outside influence. See Sheppard, 384 U.S.
             at 359. Against that threat, defendants have little legitimate interest
             in publicly commenting on the fact or expected substance of witness
             testimony before it occurs. See Section V.B, supra. Further, unlike
             witnesses, the court’s and counsel’s staffs have elected to serve in
             government or on this case. For their part, witnesses have civic and
             legal duties to truthfully provide relevant information, but may find
             any participation in the trial process unwelcome and difficult.




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             personnel are distracted addressing threats to their or their
             families’ safety, or to the security of courthouse and office
             premises.

                  We hold that the district court appropriately restricted
             speech concerning counsel and staff members, or their family
             members, to the extent it is made with either the intent to
             materially interfere with their work or the knowledge that such
             interference is highly likely to result. By requiring at least
             knowledge of a high likelihood of interference, we make clear
             that it is not enough that Mr. Trump has “done more than make
             a bad mistake.” See Counterman, 600 U.S. at 80. He must
             fairly bear responsibility for the known consequences of his
             actions. See id.; see also id. at 78–79 (describing mens rea
             standards). That restriction also best accounts for the
             competing interests in effective functioning of the judicial,
             prosecutorial, and defense processes and the substantial First
             Amendment interests in speech about how governmental
             authority and positions of prominent responsibility in the
             criminal case are used.

                  Furthermore, by requiring that the interference be material,
             we make clear that statements including or leading to
             intemperate and rude remarks—without more—are not
             proscribed. Working in the criminal justice sphere fairly
             requires some thick skin. At the same time, the requirement of
             materiality ensures, for example, that words objectively
             threatening imminent physical harm—whether the covered
             person utters such words directly or speaks with the requisite
             knowledge or intent that such threats are highly likely to
             occur—are proscribed. Words inducing mass robocalling,
             doxing, or true threats being called into offices or the
             courthouse would also be proscribed. These are the types of




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             material interference that would obstruct a reasonable person’s
             performance of their duties, and the type of threats that have
             resulted from some of Mr. Trump’s prior statements, as
             demonstrated by the record. See Section IV.B.1, supra. The
             First Amendment does not empower a criminal defendant or
             other trial participants to engage in speech intended to delay or
             obstruct the justice process or with the knowledge that such
             interference is highly likely to result.

                  Adding proof of state of mind “no doubt[] has a cost: Even
             as it lessens chill of protected speech,” it makes enforcing the
             Order harder. Counterman, 600 U.S. at 78. But that tradeoff
             is necessary here to protect against the “substantive evil of
             unfair administration of justice[,]” while allowing as much
             speech as is consistent with that protective barrier. Landmark
             Commc’ns, 435 U.S. at 844. Furthermore, the relevant mental
             states can commonly be proved with objective evidence. See
             Washington v. Davis, 426 U.S. 229, 253 (1976) (Stevens, J.,
             concurring) (“Frequently the most probative evidence of intent
             will be objective evidence of what actually happened rather
             than evidence describing the subjective state of mind of the
             actor. For normally the actor is presumed to have intended the
             natural consequences of his deeds.”); United States v. Mejia,
             597 F.3d 1329, 1341 (D.C. Cir. 2010) (A fact finder may infer
             that “a person intends the natural and probable consequences
             of acts knowingly done[.]”).

                  As with its assessment of statements concerning witnesses,
             the district court’s consideration of speech about other trial
             participants should account for context, including such factors
             as the statement’s phrasing, timing, setting, and meaning. And
             we leave it open to the district court, with her broad authority
             to manage and conduct this complex and high-profile trial, to




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             decide whether additional restrictions are needed on speech
             about counsel or about staff as the trial date draws nearer or
             circumstances change.

                  Finally, Mr. Trump argues that the Order’s application to
             “[a]ll interested parties in this matter,” Order at 3, is
             unconstitutionally vague, see Trump Br. 52–53. The district
             court clarified that “interested party” means only “the parties
             and their counsel.” Dist. Ct. Stay Order at 5. In affirming the
             Order in part, we read it with that clarification, which moots
             the vagueness challenge.

                                            VI

                  For the foregoing reasons, we hold that some aspects of
             the defendant’s speech pose a significant and imminent risk to
             the fair and orderly adjudication of this criminal proceeding,
             which justified protective action by the district court. We
             affirm in part and vacate in part the district court’s Order to
             best accommodate the competing constitutional interests at
             stake, as required by Landmark Communications.

                  Specifically, we affirm the Order to the extent it prohibits
             all parties and their counsel from making or directing others to
             make public statements about known or reasonably foreseeable
             witnesses concerning their potential participation in the
             investigation or in this criminal proceeding. The Order is also
             affirmed to the extent it prohibits all parties and their counsel
             from making or directing others to make public statements
             about—(1) counsel in the case other than the Special Counsel,
             (2) members of the court’s staff and counsel’s staffs, or (3) the
             family members of any counsel or staff member—if those
             statements are made with the intent to materially interfere with,




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             or to cause others to materially interfere with, counsel’s or
             staff’s work in this criminal case, or with the knowledge that
             such interference is highly likely to result. We vacate the Order
             to the extent it covers speech beyond those specified categories.
             See 28 U.S.C. § 2106. The administrative stay issued by this
             court on November 3, 2023, is hereby dissolved.

                  As should be clear, but to avoid any potential doubt, as
             affirmed in part and vacated in part, the Order also leaves open
             the categories of speech the district court explicitly stated were
             permissible under its initial ruling. See Order at 3. Mr. Trump
             is free to make statements criticizing the current
             administration, the Department of Justice, and the Special
             Counsel, as well as statements that this prosecution is
             politically motivated or that he is innocent of the charges
             against him. See id.

                  We do not allow such an order lightly. Mr. Trump is a
             former President and current candidate for the presidency, and
             there is a strong public interest in what he has to say. But Mr.
             Trump is also an indicted criminal defendant, and he must
             stand trial in a courtroom under the same procedures that
             govern all other criminal defendants. That is what the rule of
             law means.

                                                                  So ordered.




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                   United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT



 No. 23-3190                                                   September Term, 2023
                                                               FILED ON: DECEMBER 8, 2023

 UNITED STATES OF AMERICA,
                    APPELLEE

 v.

 DONALD J. TRUMP,
                        APPELLANT


                          Appeal from the United States District Court
                                  for the District of Columbia
                                     (No. 1:23-cr-00257-1)


        Before: MILLETT, PILLARD and GARCIA, Circuit Judges

                                        JUDGMENT

        This cause came on to be heard on the record on appeal from the United States District
 Court for the District of Columbia and was argued by counsel. On consideration thereof, it is

        ORDERED and ADJUDGED that the District Court’s Order be affirmed in part and
 vacated in part, in accordance with the opinion of the court filed herein this date. It is

        FURTHER ORDERED that this court’s administrative stay entered on November 3,
 2023, be dissolved.

        The Clerk is directed to issue the mandate forthwith.

                                           Per Curiam


                                                                FOR THE COURT:
                                                                Mark J. Langer, Clerk

                                                         BY:    /s/

                                                                Daniel J. Reidy
                                                                Deputy Clerk


 Date: December 8, 2023

 Opinion for the court filed by Circuit Judge Millett.

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             CERTIFICATE OF PARTIES AND AMICI CURIAE

      The parties in the district court include the United States of America and

Donald J. Trump. The district court denied leave to file to proposed amici curiae.

The parties before this Court include the United States of America and Donald J.

Trump. Amici curiae before this Court include the following:

In Support of Appellant Donald J. Trump:

State of Iowa, State of West Virginia, State of Alabama, State of Alaska, State of

Idaho, State of Indiana, State of Kansas, Commonwealth of Kentucky, State of

Louisiana, State of Mississippi, State of Missouri, State of Nebraska, State of North

Dakota, State of Oklahoma, State of South Carolina, State of South Dakota, State of

Texas, State of Utah

America First Legal Foundation

Christian Family Coalition Florida, Inc.

                                                                   /s/ D. John Sauer




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                            DISCLOSURE STATEMENT

          No Disclosure Statement under Federal Rule of Appellate Procedure 26.1 or

under Circuit Rule 26.1 is indicated, as Defendant is not a corporation or similar

entity.

                                                                   /s/ D. John Sauer




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                         CERTIFICATE OF SERVICE

      I hereby certify that, on December 18, 2023, I caused a true and correct copy

of the foregoing to be filed by the Court’s electronic filing system, to be served by

operation of the Court’s electronic filing system on counsel for all parties who have

entered in the case.

                                                                   /s/ D. John Sauer




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                     CERTIFICATE OF COMPLIANCE

      This document complies with the type-volume limit of Federal Rule of

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                                                 /s/ D. John Sauer
                                                 D. John Sauer
                                                 Dated: December 18, 2023




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